UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

                                                                         DECLARATION

                                                          Civil Action No.: - - - - - - - -
In Re Subpoena and Deposition Notice to
DAYID THOMAS                                              (Underlying Action Pending in the United States
                                                          District Court for the District of Arizona, Civil
                                                          Action No.: 2:17-cv-03195-JJT)
                                                          and
                                                           (Underlying Action Pending in the United
                                                          States District Court for the Northern District of
                                                          Illinois, Civil Action No.: 16-cv-07548
                                                          PRG-IDJ


         WILLIAM G. BAUER, ESQ., declares as follows:

         1.    I am an attorney duly licensed to practice before this court and am a Partner with

Woods Oviatt Gilman LLP, attorneys for the Movant and Non-Party David Thomas ("Mr.

Thomas").

         2.    This Declaration is submitted in support of Mr. Thomas' Motion for an expedited

hearing, and a stay of Mr. Thomas' compliance with Subpoenas to testify at a deposition in two

civil actions pending a hearing on his Motion to Quash the aforesaid Subpoenas.

         3.    Mr. Thomas was served on approximately November 13 or 14, 2018 with

Subpoenas seeking his testimony and compelling his appearance for depositions relating to

actions pending in the District of Arizona bearing Civil Action No.: 2: 17-cv-03195-JJT and

Northern District of Illinois bearing Civil Action No.: 16-cv-07548 PRG-IDJ. Complete, true

and accurate copies of the subpoenas served is annexed as Exhibit "A".

         4.    The Subpoenas at issue provide for Mr. Thomas, a resident of Grand Island, New

York, to be deposed in Rochester, New York on December 20, 2018. Given the short period of

time to otherwise act, Mr. Thomas seeks an expedited hearing to address the merits of the



(6815868:}
Motion to Quash the Subpoenas so as to avoid putting Mr. Thomas through unnecessary

depositions which are unduly burdensome, duplicative, and seek information that is not relevant

or material to the pending cases.

            5.    Since Mr. Thomas ceased working years prior to events in the Arizona and

Illinois actions, he certainly has no knowledge of the incidents nor could he possibly have any

knowledge or information concerning the products at issue since they were not manufactured by

his prior employer.

            6.    The accompanying motion to quash more fully establishes the basis to grant the

movant's Motion to Quash the Non-Party Subpoenas. A copy of the Motion to Quash is attached

as Exhibit "B".

            7.    An expedited hearing is sought since under the ordinary return time on Mr.

Thomas' Motion to Quash would be beyond the date scheduled for Mr. Thomas' compliance.

            WHEREFORE, it is respectfully requested that the Court grant David Thomas' motion

for an Expedited Hearing and issue an Order staying Mr. Thomas from complying with the

subpoena issued by the Plaintiffs counsel until a hearing can be conducted on the Motion to

Quash and permanently quashing the Subpoenas issued by Plaintiff upon Mr. Thomas, together

with such other and further relief as this Court may deem just and proper.

            In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the




                                                     Willi~~
foregoing is true and correct.

DATED:            December 6, 2018




                                                 2
(6815868:   l
EXHIBIT A
 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                                  UNITED STATES DISTRICT COURT
                                                                                   for the
                                                                     Northern District of Illinois

                                      Kurtis M. Bailey                                 )
-- - ·------ - - -·--·---- ·---   -    -
                                           Plaintiff                                   )
                               v.                                                      )      Civil Action No.        16-cv-07548 PRG-IDJ
            Worthington Industries Incorporated, et al.                                )
                                                                                       )
                                           Defendant                                   )

                                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:                                                                           DAVID THOMAS

                                                                  (Name ofperson to whom this subpoena is directed)

     if Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or




                                                                                                                                                 =
those set forth in an attachment:
Problems and defects with Bernzomatic/Worthington/Western/Chilton NRT fuel cylinders and torches, including failures,
defects, injuries, damage, and matters pertaining to the design of the torch fracture groove.
 I Place: A 1ance          ou    eportmg, nc.
                  120 East Avenue, Suite 200
                                                                                               Date and Time:
                                                                                                                 1212 01201 8 10:00 am
                                                                                                                                                 I
                  Rochester, NY 14604 (tel. 585-546-4920)

                The deposition will be recorded by this method:                       stenographically by court reporter, and by video.

          tf Production:      You, or your representatives, must also bring with you to the deposition the following documents,
                electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
                material: Any documents, photos, and other materials pertaining to the Non-refillable tall ("NRT") fuel cylinders,
                          containing all types of flamable fuels, AND TORCHES with the fracture groove features, produced by
                          Bernzomatic, Irwin Industrial Tool, and/or any of their subsidiaries, manufacturers, or distributors. In
                          particular, documents pertaining to problems and defects, including Roger Maxson and other reports.

         The following provisions of Fed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance;
 Rule 45( d), relating to your protection as a person subject to a subpoena; and Rule 45( e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:              11/07/2018
                                              CLERK OF COURT
                                                                                                  OR

                                                       Signature of Clerk or Deputy Clerk                                Attorney 's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
 Kurtis M. Bailey                                                        , who issues or requests this subpoena, are:
Andrew W. Shalaby, 7525 Leviston Avenue, El Cerrito, CA 94530 Tel. 510-551-8500

                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
  , 88A (Rev. 02114) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 16-cv-07548 PRG-IDJ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            tf I served the subpoena by delivering a copy to the named individual as follows:                      Mr. John M. Nelson

            355 UPPER VALLEY ROAD ROCHESTER NY 14624
                                                                                      on (date)                         ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                       for travel and $                       for services, for a total of$           0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server 's signature



                                                                                           Printed name and title




                                                                                              Server's address

Additional information regarding attempted service, etc.:




                                                                                                                                         t
                02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) SpecifYing Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party' s officer; or                                     conditions ifthe serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form/or Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney's fees--on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises--or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. Jf an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material inust:
     (i) At any time, on notice to the commanded person, the serving party             (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply ;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who .
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                                       t
David Wei Chen sbn 184071
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Oakland, CA 94612-14 2 7
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Fax:510-201-1577
Cell: 510-640-7251
email: david.chen@davidwchenlaw.com

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7525 Leviston Ave
El Cerrito, CA 94530
Tel. 510-551-8500
Fax: 510-725-4950
email: andrew@eastbaylaw.com

Attorneys for Plaintiff
Kurtis M. Bailey

            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS
                         WESTERN DIVISION

 Kurtis M. Bailey,                   )       Case No. 16-cv-07548 PRG-IDJ
                     Plaintiff,      )
                                     )       INSTRUCTIONS TO MR. DAVID
 vs.                                 )       THOMAS FOR APPEARANCE AND
                                     )       PRODUCTION OF DOCUMENTS
                                     )       AT DEPOSITION
 Worthington Cylinder Corporation,   )
 et al.,                             )       Deposition date: 12/20/18
                   Defendants.       )       Time: 10:00 a.m.
                                     )       Location: Alliance Court Reporting
                                     )                 120 East Avenue, Suite 200
                                     )                 Rochester, NY 14604
                                     )                 (tel. 585-546-4920)
                                     )
                                     )       Hon. Philip G. Reinhard



Instructions to Mr. David Thomas         1                 16-cv-07548 PRG-IDJ
/
    TO MR. DAVID THOMAS:


          You have been served with a subpoena to testify at a deposition in a civil action.

    You are respectfully requested to bring with you the following:

          Any documents, photos, and other materials pertaining to the
          Non-refillable tall ("NRT") fuel cylinders, containing all types of
          flamable fuels, AND TORCHES with the fracture groove features,
          produced by Bernzomatic, Irwin Industrial Tool, and/or any of their
          subsidiaries, manufacturers, or distributors. In particular, documents
          pertaining to problems and defects, including Roger Maxson and other
          reports.

    Please find enclosed herewith a check for witness fees and mileage in the amount of

    $87.15.

          Upon receipt of the subpoena please call Plaintiffs counsel's office, East Bay

    Law, at 510-551-8500, and advise as to the estimated number of documents and nature

    of products and/or materials you may bring to the deposition so that arrangements can

· be made to facilitate copying and photography.



    Dated: November 7, 2018

                                                   Attorney for Plaintiff Kurtis M. Bailey




    Instructions to Mr. David Thomas           2                 16-cv-07548 PRG-IDJ




                                                                                               -.1
---.._      #4.



         -AO S~A    (Rev. 02/ l 4) Subpoena to Testify at a Deposition in a Civil Action


                                                    UNITED STATES DISTRICT COURT
                                                                                           for the
                                                                                District of Arizona

                                   Jason Lou Peralta                                         )
                                           Plaintiff                                         )
                                              v.                                             )       Civil Action No.     2:17-cv-03195-JJT
                   Worthington Industries Incorporated, et al.                               )
                                                                                             )
                                          Defendant                                          )

                                         SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVD... ACTION

         To:                                                                           DAVID THOMAS

                                                                     (Name ofperson to whom this subpoena is directed)

                  if
                  Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
         deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
         or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
         those set forth in an attachment:
         Problems and defects with Bernzornatic/Worthington/Westem/Chilton NRT fuel cylinders and torches, including failures,
         defects, injuries, damage, and matters pertaining to the design of the torch fracture groove.
          Place:                                                                                      Date and Time:
                                                                                                                        12/20/2018 10:00 am

                       The deposition will be recorded by this method:                       stenographically by court reporter, and by video.

                  if Production:     You, or your representatives, must also bring with you to the deposition the following documents,
                       electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
                       material: Any documents, photos, and other materials pertaining to the Non-refillable tall ("NRT") fuel cylinders,
                                 containing all types of flamable fuels, AND TORCHES with the fracture groove features, produced by
                                 Bernzomatic, Irwin Industrial Tool, and/or any of their subsidiaries, manufacturers, or distributors. In
                                 particular, documents pertaining to problems and:defects, including Roger Maxson and other reports.

                The following provisions of Fed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance;
         Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
         respond to this subpoena and the potential consequences of not doing so.                         ·

         Date:           11 /05/2018
                                               CLERK OF COURT
                                                                                                        OR  .~
                                                                                                         ~'L-                         ,..-:::::>
                                                                                                                                 _\...___ _ __

                                                       Signature of Clerk or Deputy Clerk                                    Attorney 's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
     _J_a_s_o_n_L_o_u_P_e_r_a_lta_ _ _ _ _ _ __ _ _ _ __ _ _ __ ___ , who issues or requests this subpoena, are:
     David W. Chen, 1300 Clay Street, Suite 600, Oakland, CA 94612 - Tel. 510-551-8500, 510-575-0851

                                         Notice to the person who issues or requests this subpoena
         If this subpoena commands the production of documents, electronically stored information, or tangible things before
         trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
         whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                           .,

       88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

    Civil Action No. 2:17-cv-03195-JJT




I
                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

                I received this subpoena for (name of individual and title, if any)
    on (date)

                ~I served the subpoena by delivering a copy to the named individual as follows:                      Mr. John M. Nelson

                355 UPPER VALLEY ROAD ROCHESTER NY 14624
                                                                                         on (date)                        ; or

                0 I returned the subpoena unexecuted because:



                Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
                tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
                $

    My fees are$                                      for travel and $                       for services, for a total of$          0.00



                I declare under penalty of perjury that this information is true.


    Date:
                                                                                                Server's signature



                                                                                              Printed name and title




                                                                                                 Server's address

    Additional information regarding attempted service, etc.:
        . /) 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




II
  ,.
                                    Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1113)
 ,/
       (c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                          or commercial information; or
         (l) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
       person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
          (A) within 100 miles of where the person resides, is employed, or               Study .that was not requested by a party.
       regularly transacts business in person; or                                            (C) Specijj;ing Conditions as an Alternative: In the circumstances
          (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
       transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
             (i) is a party or a party's officer; or                                      conditions if the serving party:
             (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
       expense.                                                                           otherwise met without undue hardship; and                       .
                                                                                               (ii) ensures that the subpoenaed person will be reasonably compensated.
        (2) For Other Discovery. A subpoena may command:
          (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
       tangible things at a place within I 00 miles of where the person resides, is
       employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
          (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                          infonnation:
       {d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                          must produce them as they are kept in the ordinary course of business or
        (1)Avoiding Undue Burden or Expense; Sanctions. A party or attorney               must organize and label them to correspond to the categories in the demand.
       responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
       to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
       subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
       enforce this duty and impose an appropriate sanction--which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
       lost earnings and reasonable attorney's fees--<>n a party or attorney who             (C) Electronically Stored Information Produced in Only One Form. The
       fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                          information in more than one form.
        (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
          (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
       documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not. reasonably accessible because
       permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
       production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
       hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
          (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
       things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
       in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
       sampling any or all of the materials or to inspecting the premises--or to
       producing electronically stored infonnation in the form or forms requested.        (2) Claiming Privilege or Protection.
       The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
       compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
       the following rules apply:                                                         material niust:
            (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
       may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
       order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
            (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
       order must protect a person who is neither a party nor a party's officer from        (B) Information Produced. If infonnation produced in response to a
       significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                          trial-preparation material, the person making the claim may notify any party
        (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                          notified, a party mtist promptly return, sequester, or destroy the specified
         (A}.When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disc!ose the information
       compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                          information if the party disclosed it before being notified; and may promptly.
            (i) fails to allow a reasonable time to comply;                               present the infonnation under seal to the court for the district where
            (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
       specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
            (iii) requires disclosure of privileged or other protected matter, if no      resolved.
       exception or waiver applies; or
            (iv) subjects a person to undue burden.                                       (g) Contempt.
         (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
       subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
       motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                          subpoena or an order related to it.


                                                For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013):
Andrew W. Shalaby sbn 206841
7525 Leviston Ave
El Cerrito, CA 94530
Tel. 510-551-8500
Fax: 510-725-4950
email: andrew@eastbaylaw.com
David Wei Chen sbn 184071
1300 Clay Street, Suite 600
Oakland, CA 94612-1427
Tel. 510-575-0851
Fax:510-201-1577
Cell: 510-640-7251
email: david.chen@davidwchenlaw.com


Attorneys for Plaintiff
Jason Lou Peralta




                 IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA


Jason Lou Peralta,                      Case Number: 2:17-cv-03195-JJT
                           Plaintiff,
                                        INSTRUCTIONS TO MR.DAVID
      vs.                               THOMAS FOR APPEARANCE AND
                                        PRODUCTION OF DOCUMENTS AT
Worthington Industries, Inc.;           DEPOSITION
Worthington Cylinder Corporation;
Worthington Cylinder Wisconsin,         Deposition date: 12/20/18
LLC; BernzOmatic Company;               Time: 10:00 a.m.
                                        Location: Alliance Court Reporting
                     Defendants.                  120 East Avenue, Suite 200
                                                  Rochester, NY 14604
                                                  (tel. 585-546-4920)



                                        Judge: Hon. John J. Tuchi



Instructions to Mr. David Thomas        1                    2: l 7-cv-03195-JJT




                                                                                   I
        TO MR. DAVID THOMAS:
    I




I             You have been served with a subpoena to testify at a deposition in a civil
        action. You are respectfully requested to bring with you the following:


              Any documents, photos, and other materials pertaining to the
              Non-refillable tall ("NRT") fuel cylinders, containing all types of
              flamable fuels, AND TORCHES with the :fracture groove features,
              produced by Bernzomatic, Irwin Industrial Tool, and/or any of their
              subsidiaries, manufacturers, or distributors. In particular, documents
              pertaining to problems and defects, including Roger Maxson and other
              reports.


        Please find enclosed herewith a check for witness fees and mileage in the amount of
        $87.15.
              Upon receipt of the subpoena please call Plaintiffs counsel's office, East Bay
        Law, at 510-551-8500, and advise as to the estimated number of documents and nature
        of products and/or materials you may bring to the deposition so that arrangements can
        be made to facilitate copying and photography.


        Dated: November 7. 2018                          ~-=z_
                                                     DaVi<r:Chen, Attorney for Plaintiff
                                                     Jason Lou Peralta




        Instructions to Mr. David Thomas         2                       2:17-cv-03195-JJT




                                                                                                I
EXHIBIT B
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


                                                                  NOTICE OF MOTION TO QUASH
In Re Subpoena and Deposition Notice to
DAVID THOMAS                                                Civil Action No.: - - - - -
                                                            (Underlying Action Pending in the United States
                                                            District Court for the District of Arizona, Civil
                                                            Action No.: 2: 17-cv-03195-JJT)

                                                            And

                                                            (Underlying Action Pending in the United States
                                                            District Court for the Northern District of
                                                            Illinois, Civil Action No.: 16-cv-07548
                                                            PRG-IDJ



         PLEASE TAKE NOTICE, that upon the annexed Declaration of William G. Bauer,

Esq. dated December 5, 2018 with Exhibit "A" through "F" attached thereto, Non-Party, David

Thomas will move this Court on a date and time to be determined by the Court for an Order

pursuant to Fed. R. Civ. Proc. 45 (d)(3), quashing the subpoena served upon him relating to an

actions pending in the United States District Court for District of Arizona and United States

District Court for the Northern District of Illinois, together with such other and further relief as

this Court may deem just and proper.

·DATED:        December 5, 2018

                                                     By:
                                                             William G. Bauer, E
                                                             Attorneys for Movant, David Thomas
                                                             700 Crossroads Building
                                                             2 State Street
                                                             Rochester, New York 14614
                                                             585.987.2800
                                                             wbauer@woodsoviatt.com




(6815227:}
TO:      Andrew W. Shalaby, Esq.
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         El Cerrito, CA 94530
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         Andrew@eastbaylaw.com

         Attorneys for Plaintiffs, Jason Lou Peralta and
          Kurtis M Bailey

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         Attorneys for Defendants,
          Worthington Cylinder Corporation and
          Worthington Industries, Inc.




(6815227:}
         JONES, SKELTON & HOCHULI, P.L.C.
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         Attorneys for Defendants,
          Worthington Industries, Inc.,
          Worthington Cylinder Corporation and
          Worthington Cylinder Wisconsin




(6815227:}
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

                                                             DECLARATION IN SUPPORT OF
                                                                 MOTION TO QUASH
In Re Subpoena and Deposition Notice to DAVID
THOMAS                                                      Civil Action No.: - - - - - - - -


                                                       (Underlying Action Pending in the United States
                                                    District Court for the District of Arizona, Civil Action
                                                                    No.: 2:17-cv-03195-JJT)
                                                                              and
                                                       (Underlying Action Pending in the United States
                                                    District Court for the Northern District of Illinois, Civil
                                                              Action No.: 16-cv-07548 PRG-IDJ



I, WILLIAM G. BAUER, ESQ., declare as follows:

          1.    I am an attorney at law duly admitted to practice before this Court. I am a Partner

at Woods Oviatt Gilman LLP, counsel of record for Non-Party, David Thomas ("Mr. Thomas").

I submit this declaration in support of Mr. Thomas' attached Motion to Quash.

         2.     Attached hereto as Exhibit A is a true and correct copy of the Complaints in

Peralta v. Worthington Inds. Inc. and Bailey v. Worthington Inds. Inc.

         3.     Upon inquiry to counsel for Defendant Worthington in the Underlying Actions, I

confirmed that the torches and cylinders at issue were manufactured by Worthington at its

manufacturing facility in Wisconsin. The products at issue in Peralta v. Worthington Inds. Inc.,

et al. are a torch manufactured in 2015 and a propane cylinder manufactured in 2014 with a date

of loss of February 5, 2016. The products at issue in Bailey v. Worthington Inds. Inc., et al. was a

torch manufactured in 2013 and a propane cylinder manufactured in 2013 with a date of loss of

May 20, 2014.




(6813815: }
         4.    Attached as Exhibit B is a true and correct copy of the Objections to the Thomas

Notice of Deposition (Subpoena) filed by Defendant Worthington in the Underlying Actions.


         5.    Attached as Exhibit C is a true and correct copy of the Minute Order entered on

November 20, 2018 by Judge Iain Johnston of the Northern District of Illinois in Bailey v.

Worthington Inds. Inc.

         6.    Attached hereto as Exhibit D is a true and correct copy of an excerpt of Michael

Ridley' s deposition transcript taken on January 26, 2018 in the Underlying Actions.

         7.    Attached hereto as Exhibit E are true and correct copies of the 2012 Prefiling

Order entered in Shalaby v. Bernzomatic et al., No. 1 lcv68 AJB (POR) (S.D. Ca July 27, 2012)

and all subsequent Orders reaffirming the 2012 Orders which are dated January 5, 2018,

February 28, 2018, and August 8, 2018.

         8.    Attached hereto as Exhibit F is a true and correct copy of the Declaration of

David Thomas signed December 4, 2018 with attached Exhibit A.



DATED:         December 5, 2018
                                                    By:




(6813815:}
EXHIBIT A
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 1 of 18



 1 Andrew W. Shalaby sbn 206841
   7525 Leviston Ave
 2 El Cerrito, CA 94530
   Tel. 510-551-8500
 3 Fax: 510-725-4950
   email: andrew@eastbaylaw.com
 4
 5
 6   Attorneys for Plaintiff
     Jason Peralta
 7
 8
 9
10                     IN THE UNITED STATES DISTRICT COURT
11                             FOR THE DISTRICT OF ARIZONA
12
13   Jason Lou Peralta,                        Case Number: 2:17-cv-03195-JJT
14                              Plaintiff,
15         vs.                                 FIRST AMENDED COMPLAINT FOR
16   BernzOmatic;                              1. PRODUCTS LIABILITY;
     Irwin Industrial Tool Company;
17   Newell Rubbermaid Company;                3. INTENTIONAL TORT;
     Newell Operating Company;
18   Newell Brands, Inc.;                      4. DECLARATORY RELIEF (CPSC)
     Worthington Industries, Inc.;
19   Worthington Cylinder Corporation;         Demand for Jury Trial
     Worthington Cylinder Corporation, LLC;
20   Worthington Cylinder Wisconsin, LLC;      Judge: Hon. John J. Tuchi
     United States Consumer Product
21   Safety Commission,
22                        Defendants.
23
                                      I. JURISDICTION
24
           Plaintiff resides in Arizona and Defendant’s principle place of business is in
25
     Ohio, and the amount in controversy exceeds $75,000, therefore the case falls under
26
27
     diversity jurisdiction per 28 U.S.C § 1332.

28

     FIRST AMENDED COMPLAINT                  1                        2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 2 of 18



 1         The Court has federal question jurisdiction pursuant to 28 U.S.C.A. § 1331 with
 2   regard to the declaratory relief claim under 28 U.S.C. § 2201.
 3                                      II. VENUE
 4         The injury at issue occurred in Mesa, AZ, Maricopa County, therefore this is
 5   the proper venue.
 6                                     III. PARTIES
 7         1.     Plaintiff, JASON LOU PERALTA (hereinafter “Plaintiff”), is a
 8   competent adult individual, and a resident of Maricopa County, Arizona.
 9         2.     Defendant, “BernzOmatic”, also known as “the entity formerly known
10   as Bernzomatic, an unincorporated division of Irwin Industrial TooL company and
11
     Newell Operating Company.” The name “BernzOmatic” has a capital “O” in the
12
     original text.   The subject products in this action contain the brand name
13
     “BernzOmatic”. Based on information and belief, Plaintiff alleges that the entity
14
     “BernzOmatic” still exists, but exists under the name “Newell Operating Company,”
15
     and/or under any of Newell’s subsidiaries identified below.
16
           3.     Irwin Industrial Tool Company is incorporated in Ohio. As of December
17
     18, 2017 the agent and registration information was posted as follows:
18
            Corporation Service Company
19          50 West Broad Street Suite 1330
20
            Columbus, OH 43215
            Effective Date: 11/10/2016
21
            Contact Status: Active

22
           4.     Newell Operating Company is incorporated in Delaware.            As of
23
     December 18, 2017 the agent and registration information was posted as follows:
24
            Current Entity Name:     NEWELL OPERATING COMPANY
25          DOS ID #: 318446
26
            Initial DOS Filing Date: NOVEMBER 23, 1971
            County:       DELAWARE
27          Jurisdiction: DELAWARE
            Entity Type: FOREIGN BUSINESS CORPORATION
28          Current Entity Status:   ACTIVE

     FIRST AMENDED COMPLAINT                  2                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 3 of 18



 1
            DOS Process: C/O Corporation Service Company
 2          80 State Street
            Albany, New York, 12207-2543
 3          Principal Executive Office:
            Newell Operating Company
 4          6655 Peachtree Dunwoody Road
 5
            Atlanta, Georgia, 30328
            Registered Agent:
 6          Corporation Service Company
            80 State Street
 7          Albany, New York, 12207-2543
 8
 9         5.    Newell Brands, Inc. is incorporated in Delaware. As of December 18,

10   2017 the agent and registration information was posted as follows:

11          File Number: 2118347                          Incorporation date:
            2/23/1987
12          Entity Name: NEWELL BRANDS INC.               Residency: DELAWARE
13          Registered Agent Information:
            Corporation Service Company
14          251 Little Falls Drive
            Wilmington, DE 19808
15          Phone: 302-636-5401
16         6.    Worthington Industries, Inc. is incorporated in Ohio. As of December
17   18, 2017 the agent and registration information was posted as follows:
18
            Entity Number: 1037038
19          Business Name: WORTHINGTON INDUSTRIES, INC.
            Filing Type:       CORPORATION FOR PROFIT
20          Status:            Active
            Original Filing Date:     08/24/1998
21          Location: COLUMBUS County: FRANKLIN      State: Ohio
22          Agent/Registrant Information:
            Dale T. Brinkman
23          200 Old Wilson Bridge Road
            Columbus,OH 43085
24          Effective Date: 02/12/2004
25
           7.    Worthington Cylinder Corporation is incorporated in Ohio. As of
26
     December 18, 2017 the agent and registration information was posted as follows:
27
28

     FIRST AMENDED COMPLAINT                  3                       2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 4 of 18



 1
            Entity Number: 590252
 2          Business Name: WORTHINGTON CYLINDER CORPORATION
            Filing Type:       CORPORATION FOR PROFIT
 3          Status Active:
            Original Filing Date:  02/26/1982
 4          Expiry Date
            Location: COLUMBUS County: FRANKLIN      State: OHIO
 5          Agent/Registrant Information:
 6
            Dale T. Brinkman
            200 Old Wilson Bridge Road
 7          Columbus, OH 43085
            Effective Date: 02/12/2004
 8          Contact Status: Active

 9
           8.    Worthington Cylinder Corporation, LLC is located in Ohio. As of
10
     December 18, 2017 the agent and registration information was posted as follows:
11
12
            Entity Number: 1971002
            Business Name: WORTHINGTON CYLINDER CORPORATION,
13          LLC
            Filing Type: DOMESTIC LIMITED LIABILITY COMPANY
14          Status:      Active
            Original Filing Date: 10/22/2010
15          Location: COLUMBUS County: FRANKLIN      State: OHIO
            Dale T. Brinkman
16          200 Old Wilson Bridge Rd.
17
            Columbus, OH 43085
            Effective Date: 10/22/2010
18          Contact Status: Active

19
           9.     Worthington Cylinder Wisconsin, LLC is located in Wisconsin. As of
20
     December 18, 2017 the agent and registration information was posted as follows:
21
22
            Entity ID: W047037
            Registered Effective Date:      08/17/2004
23
            Status:      Registered                           Status Date:
            08/17/2004
24          Entity Type: Foreign LLC
            Foreign Organization Date:      08/09/2004
25          Foreign State      OH
            Principal Office:
26          200 OLD WILSON BRIDGE RD
            COLUMBUS , OH 43085
27
28

     FIRST AMENDED COMPLAINT                 4                       2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 5 of 18



 1
             Registered Agent Office:
 2           C T Corporation System
             301 S. Bedford St. Suite 1
 3           Madison , WI 53703

 4
     Reference to Defendants: Use of the word “DEFENDANTS” hereinafter shall refer
 5
     to all of the defendants named in this action except where otherwise stated.
 6
           10.    United States Consumer Product Safety Commission (CPSC) is named
 7
     only for the declaratory relief claim set forth below, and shall be referenced as CPSC.
 8
     Plaintiff’s intention in including CPSC is to have the defects of the subject hazardous
 9
     products determined judicially to be defective so that CPCS may ultimately issue a
10
     recall mandate for the subject products to prevent further injuries and deaths to the
11
     users of the products of concern. In this regard Plaintiff believes CPCS to be a proper
12
     necessary party to the action. There are no damages claims of any kind asserted
13
     against CPSC in this action.
14
15
                      IV. RELATIONSHIP OF THE DEFENDANTS

16
           Based on discovery responses and Defendants’ various internet postings,

17   Plaintiff alleges the defendants are related as follows:

18         10.    BernzOmatic was an American manufacturing company founded by one

19   Otto Bernz in 1876. The company manufactured handheld torches and accessories,

20   especially gas burner torches using fuel cylinders containing butane, propane, MAPP
21   gas, and oxygen for soldering, brazing, and welding. In the 1940's Otto Bernz Co.
22   relocated to Rochester, New York and changed its name to BernzOmatic. In 1982,
23   BernzOmatic became a division of Newell (now Newell Rubbermaid).
24         11.    Newell Rubbermaid purchased Irwin Industrial Tool Company in the
25   year 2002.
26         12.    Irwin Industrial Tool Company sold the BernzOmatic brand torches and
27   cylinders for a period of time, but Plaintiff is unsure of the time frame. It appears that
28   Irwin Industrial Tool Company sold BernzOmatic brand torches and cylinders from
     FIRST AMENDED COMPLAINT                     5                          2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 6 of 18



 1   approximately 2002 to approximately July 2011, when BernzOmatic sold its assets to
 2   Worthington Industries, as explained further below.
 3         13.    Newell Rubbermaid Company owed Irwin Industrial Tool Company
 4   during the relevant years of production, which may include the year of production of
 5   the fuel cylinder which caused Mr. Peralta’s injuries, or the defective yellow fuel
 6   cylinder containing MAPP fuel, owned by Mr. Peralta.
 7         14.    Based on information and belief, Plaintiff alleges that BernzOmatic was
 8   owned or merged with the entity, Newell Brands Inc. Sometime during or after the
 9   year 2011.
10         15.    Worthington Industries, Inc. Manufactured fuel cylinders containing
11
     MAPP and Propane Fuel for BernzOmatic from approximately September 2004 to the
12
     date it acquired BernzOmatic assets, July 2011.
13
           16.    Worthington Cylinder Corporation is an indirect subsidiary of
14
     Worthington Industries, Inc. It had acquired certain assets from Western Industries
15
     in September 2004. Western Industries had manufactured the BernzOmatic brand fuel
16
     cylinders for a period of years up to September 2004, and then Worthington Cylinder
17
     Corporation began manufacturing these products from September 2004 onward, for
18
     Worthington Industries, as stated in paragraph 6 above.
19
           17.    Worthington Cylinder Corporation, LLC appears to be another indirect
20
     subsidiary of Worthington Industries. Based on information and belief, Plaintiff
21
     alleges on information and belief that it was engaged in the manufacture, marketing,
22
     sales and distribution of the subject products at all times relevant herein.
23
           18.    Worthington Cylinder Wisconsin, LLC is owned by Worthington
24
     Cylinder Corporation, which is owned by Worthington Industries.
25
           19.    On page 3 of Worthington Industries’ Annual Report 2012, Worthington
26
     disclosed its purchase of BernzOmatic assets as follows:
27
           On July 1, 2011, we purchased substantially all of the net assets
28         (excluding accounts r eceivable) of the BernzOmatic business
     FIRST AMENDED COMPLAINT                    6                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 7 of 18



 1         (“Bernz”) of Irwin Industrial Tool Company, a subsidiary of
           Newell Rubbermaid, Inc. Bernz is a leading manufacturer of
 2         handheld torches and accessories. The acquired net assets became
           part of our Pressure Cylinders operating segment upon closing of
 3         the transaction.
 4         20.    From July 2011 onward Worthington cylinder Wisconsin began
 5   manufacturing, marketing, selling and distributing the BernzOmatic-brand torches and
 6   fuel cylinders.
 7         21.    Due to the complex relationships of the defendant entities, Plaintiff is
 8   unable to “flush out” the proper entity or entities to be held accountable for the defects
 9   of the subject products, and for his injuries suffered as a result of those defects.
10   Plaintiff therefore informs DEFENDANTS and the Court that if any of the above
11
     entities are not proper responsible parties for his injuries, he shall dismiss the non-
12
     responsible entities. DEFENDANTS are respectfully requested to resolve amongst
13
     themselves the identity of the responsible defendant(s) and advise as to which
14
     defendants should be dismissed (if any).
15
                                 IV. SUBJECT PRODUCTS
16
           22.    DEFENDANTS (excluding CPSC) was the manufacturer and marketer
17
     of a handheld torch, consisting of three components: (1) a fuel cylinder, (2) an ultra
18
     hazardous fuel (Propane or MAPP gas), and (2) a torch handle which mounted onto
19
     the cylinder, which was a model TS4000. These components shall jointly be
20
     referenced as the “subject torch,” referring specifically to the torch products relevant
21
     to this action as further described below. At all times relevant herein Plaintiff other
22
     fuel cylinders containing MAPP fuel. At a hearing held on December 4, 2017. The
23
     Court entered a minute entry (dkt. 32) stating:
24
           MINUTE ENTRY for proceedings held before Judge John J Tuchi: Oral
25         Argument and Scheduling Conference held on 12/4/2017. Pending
           Motion argued to the Court. Deadlines discussed and entered. For
26         reasons as stated on the record, IT IS ORDERED granting in part and
           denying in part [9] Defendants' Motion to Strike Portions of Complaint
27         and Motion to Dismiss Complaint in Part for Failure to State a Claim.
           Scheduling Order to follow.
28

     FIRST AMENDED COMPLAINT                     7                          2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 8 of 18



 1         APPEARANCES: Andrew Shalaby for Plaintiff. Jason Granskog for
           Defendants. (Court Reporter Elaine Cropper.) Hearing held 2:32 PM to
 2         3:28 PM. This is a TEXT ENTRY ONLY. There is no PDF document
           associated with this entry. (JAMA)
 3
     At said hearing, the Court stated that the fuel cylinders that contain MAPP fuel are to
 4
     be excluded from the scope of this action. Therefore, on this First Amended
 5
     Complaint, the fuel containers that contain MAPP fuel are excluded by Court order,
 6
     and preserved in the record as a product Plaintiff has moved the Court to include
 7
     within the scope of this action.
 8
 9                   NON-COMPLIANCE WITH 49 CFR 178 et seq.
10         23.    The subject fuel cylinders, ultra hazardous fuel, and torch tips, including
11
     their packaging, warning labels and disclosures, must comply with the requirements
12
     of 49 CFR section 178 et seq., also known as “DOT 39" requirements, imposed by the
13
     United States Federal Government. Based on information and belief, Plaintiff alleges
14
     that the above-described products fail to comply with 49 CFR 178 et seq. in several
15
     regards, including but not limited to the following:
16
     (A)   The subject cylinders must contain brazed seams which are assembled to proper
17
           fit to ensure "complete penetration of the brazing material throughout" all
18
           "brazed joins." The subject cylinders do not comply with this requirement.
19
     (B)   The subject cylinders must contain brazed seams which have "design strength
20
           equal to or greater than 1.5 times the maximum strength of the shell wall."The
21
           subject cylinders do not comply with this requirement.
22
     (C)   The subject cylinders must contain "welded seams which are properly aligned
23
           and welded by a method that provides clean, uniform joins with adequate
24
           penetration." The subject cylinders do not comply with this requirement.
25
     (D)   The subject cylinders contain material used for welded openings and
26
           attachments which are of "weldable quality and compatibility with material of
27
           the cylinder." The subject cylinders do not comply with this requirement.
28

     FIRST AMENDED COMPLAINT                    8                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 9 of 18



 1   (E)    When "one cylinder taken from the beginning of each lot, and one from each
 2          1,000 or less successively produced within the lot thereafter" is "hydrostatically
 3          tested to destruction" as mandated, the entire lot is rejected if ever a "failure
 4          initiates in a braze or a weld or the heat affected zone thereof. The subject
 5          cylinders do not comply with this requirement.
 6   (F)    When the test done above results in a failure occurring in any opening,
 7          reinforcement, or at a point of attachment, the entire lot is rejected and
 8          discarded. The subject cylinders do not comply with this requirement.
 9   (G)    The subject cylinders must otherwise comply with all "Dot 39" requirements
10          and thus meet minimum required governmental safety requirements. The
11
            subject cylinders do not comply with this requirement.
12
            24.    Plaintiff suffered severe burn injuries on February 5, 2016, when the
13
     cylinder he was using had breached and failed. The breach of cylinder was the result
14
     of the failure of his cylinder, and generally, the subject cylinders, to comply with the
15
     requirements of 49 CFR § 178. The cylinder owned by the plaintiff was weak and
16
     substandard, causing the fuel cylinder to fail and breach upon contact of the tip of the
17
     torch with a solid object, while the fuel emission lock of the TS4000 was engaged.
18
     This resulted in a catastrophic failure which has caused severe burn injuries to the
19
     plaintiff in this action.
20
            25.    Had the TS4000 torch’s safety fracture groove feature operated as
21
     intended, the cylinder would hot have breached and failed, causing Plaintiff’s injuries.
22
            26.    Alternatively, had the cylinder not been too weak and substandard, it
23
     would not have failed at a measure of force which was too low to activate the
24
     TS4000's fracture groove feature, causing Plaintiff’s injuries. Furthermore, the failure
25
     in this instance preceded the dropping of the torch assembly because the center
26
     bushing area of the cylinder breached without any application of force at all, causing
27
     flame to emit from the area, and causing Plaintiff to drop the assembly onto the tip of
28

     FIRST AMENDED COMPLAINT                     9                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 10 of 18



 1   the torch (as they are top-heavy). The failure of the fracture groove feature to fracture,
 2   and the breach of the cylinder instead, were secondary defects that lead to the
 3   catastrophic fuel discharge.
 4         27.    Plaintiff alleges that the subject fuel cylinders have failed and caused
 5   severe burn injuries and deaths throughout the United States and in other countries.
 6         28.    Plaintiff discloses that the United States Federal Court’s docket system
 7   has posted many litigations filed throughout the United States alleging severe burn
 8   injuries to have been caused by the subject fuel containers, some containing propane
 9   fuel, and others containing MAPP fuel.
10    MULTIDISTRICT LITIGATION COORDINATION MOTION PENDING
11
           29.    Plaintiff discloses that the United States Panel on Multidistrict Litigation
12
     has pending before it at this time a motion to coordinate or consolidate six federal
13
     court cases which are presently pending in different states alleging failure of the
14
     subject fuel containers, MDL No. 2823.
15
                    FIRST CAUSE OF ACTION FOR NEGLIGENCE
16                           (PRODUCTS LIABILITY)
17         Plaintiff incorporates by reference all of the general allegations and factual
18   recitals contained above, and pleads as and for a FIRST cause of action, on
19   information and belief, as follows:
20         30.     The subject fuel cylinders, including the fuel cylinder which failed and
21   severely injured the plaintiff, contain both design and manufacturing defects at the
22   uppermost portion of the cylinders. The defects include but are not limited to an
23   improper and substandard connection between the narrow thread assembly located at
24   the top of the cylinder and the horizontal surface of the cylinder to which it attached,
25   a defective design with a pressure relief valve that causes it to sometimes fail and lead
26   to a catastrophic explosion of the cylinder, and poor quality of products and materials
27   which sometimes lead to the production of cylinders which are incapable of
28   withstanding the amount of force they were designed to withstand before breach. The
     FIRST AMENDED COMPLAINT                    10                          2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 11 of 18



 1   most frequent and prevalent failures occur between the welded joints of the narrow
 2   thread assembly and the horizontal surface of the cylinder. There have been many
 3   such failures throughout the country and worldwide with these products.
 4            31.   The defects with the subject torch heads, including the torch head used
 5   by the plaintiff at the time of injury in this case, exist on the safety feature known as
 6   the "fracture groove" of the torch heads. The application of force to the tip of the
 7   torches was deemed a foreseeable event by DEFENDANTS (excluding CPSC), and
 8   prompted the design and implementation of the fracture groove features in the torch
 9   heads.
10            32.   BernzOmatic had posted the following description of the defect of the
11
     subject cylinders, and the intended function of the TS4000 torch tip’s safety feature,
12
     the fracture groove:
13
              http://www.bernzomatic.com/resources/glossary.aspx, as of 12/09):
14
              Fracture Groove: A designed in failure point in the torch, so that when
15            the torch & cylinder are dropped, the fracture groove will fail prior to the
              cylinder center bushing failing. If the center bushing fails, then an
16            extremely large 8 to 10 foot flame will erupt from the cylinder.
17   The “center bushing” is the narrow neck portion on the top of the fuel cylinder, which
18   is the area where Plaintiff’s cylinder had failed, causing his injuries.
19            33.   In every known incident of failure of the fuel cylinders upon the
20   application of pressure to the subject torch tips, the safety fracture groove feature had
21   failed to fracture and prevent the catastrophic failures of these fuel cylinders.
22            34.   DEFENDANTS (excluding CPSC) have been aware of the existence of
23   the above-described defects for more than a decade, and likely for more than three
24   decades, but have never recalled these products.
25            35.   DEFENDANTS (excluding CPSC) have been aware of the existence of
26   the above-described defects for more than a decade, and likely for more than three
27   decades, but have never warned the users of these products.
28

     FIRST AMENDED COMPLAINT                      11                          2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 12 of 18



 1         36.    Approximately in the year 2008 a website was posted by a victim of
 2   injuries caused by these defective products. The website is posted at:
 3                               www.bernzomaticinjuries.com
 4   The posting was to bring to Defendants’ attention these defects, and to warn the users
 5   of the product.
 6         37.    In the year 2008, by way of misrepresentation to a web hosting service,
 7   BernzOmatic had the above website taken down.
 8         38.    The misrepresentation was in that BernzOmatic told the hosting company
 9   of the website that it was owner of the domain, which was false. The domain was
10   owned by the injury victim.
11
           39.    Defendant’s intent in wrongfully taking down the website was to prevent
12
     potential purchasers and users of the subject products from learning about their
13
     hazards and dangers as described herein above.
14
           40.    The holder of the domain was successful in putting the website back up,
15
     only to be met with a complaint filed on November 21, 2008 by BernzOmatic, which
16
     was filed with the "World Intellectual Property Organization Arbitration and
17
     Mediation Center" in Switzerland, in an effort to remove the website so that the public
18
     would not be made aware of these defects.
19
           41.    BernzOmatic’s domain dispute was not successful, and further,
20
     establishes the actual knowledge and awareness of Defendants with regard to these
21
     defects, and Defendants’ failure to act and prevented the injuries in this case, and in
22
     the related case referenced above.
23
           42.    DEFENDANTS (excluding CPSC) failed to warn of the above-described
24
     defects.
25
           43.    DEFENDANTS (excluding CPSC) failed to disclose the above-described
26
     defects to the consumers.
27
28

     FIRST AMENDED COMPLAINT                   12                        2:17-cv-03195-JJT
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 1         44.    DEFENDANTS (excluding CPSC) failed to cure the above-described
 2   defects and did not effectively recall the products.
 3         45.    DEFENDANTS (excluding CPSC) partially recalled the fuel cylinders
 4   in the United States and Canada on January 17, 2012, but failed to take appropriate
 5   measures to bring the product defects to the attention of the consumer and the public.
 6   The recall was unreasonably silent.
 7         46.    The recall was misleading insofar as it did not disclose any of the actual
 8   defects referenced above.
 9         47.    Several of the torch tips produced by DEFENDANTS (excluding CPSC)
10   appeared, visually, to have completely omitted the fracture groove feature, while the
11
     packaging in which the torch heads were marketed and sold contained photographs
12
     showing and describing the fracture groove feature on the back of the package.
13
           48.    As with the fuel cylinders, DEFENDANTS (excluding CPSC) knew of
14
     the defects with the torch heads, failed to warn the public and consumers, failed to
15
     recall the products, and severe injuries and deaths have resulted.
16
           49.    Plaintiff seeks punitive damages specifically on grounds that
17
     DEFENDANTS (excluding CPSC) could have prevented his injuries, and in fact,
18
     could have prevented the great many other injuries and deaths which occurred due to
19
     the above-described defects, simply by properly recalling and fixing these products,
20
     and by warning the users of the dangers and risks. DEFENDANTS (excluding CPSC)
21
     were capable of fixing these products and warning the users more than a decade ago,
22
     but failed to do so, which is the reason Plaintiff has suffered his severe burn injuries.
23
           50.    As explained above, the Court has ordered that the subject products be
24
     limited to the fuel containers that contain propane fuel only, and the torch apparatus
25
     be limited to the TS4000 model unit that was mounted to Mr. Peralta’s cylinder at the
26
     time of failure of the product. Therefore, while there is reference to containers that
27
     contain MAPP fuel, this is to apprise CPSC of the concern and to preserve the record
28

     FIRST AMENDED COMPLAINT                    13                         2:17-cv-03195-JJT
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 1   only. The subject products are limited to fuel containers containing propane fuel and
 2   to the model TS4000 torch apparatuses pursuant to the Court’s order stated from the
 3   bench at the December 4, 2017 hearing.
 4         WHEREFORE, Plaintiff prays for judgment against all of the above named
 5   defendants for all damages suffered by Plaintiff as the result of the failure of his
 6   defective fuel cylinder and torch head product, in an amount of not less than
 7   $2,000,000, and further, for punitive damages based on malice and intentional failure
 8   to act and failure to warn, for recall of the subject products, for attorney's fees
 9   pursuant to statute, for costs of suit, and for such other and further relief as the court
10   deems proper.
11
              SECOND CAUSE OF ACTION FOR INTENTIONAL TORT
12
           Plaintiff incorporates by reference all of the general allegations and factual
13
     recitals contained above, and pleads as and for a SECOND cause of as follows:
14
           51.    Based on information and belief, Plaintiff alleges that DEFENDANTS
15
     (excluding CPSC) have committed the intentional tort of fraud, including
16
     misrepresentation.
17
           52.    Based on information and belief, Plaintiff alleges Defendants (excluding
18
     CPSC) have committed the intentional torts of assault and battery.
19
           53.    Defendants (excluding CPSC) had actual knowledge of the fact that the
20
     subject fuel containers (in this instance containing propane fuel) were failing while
21
     being used in a manner which was intended by the manufacturer and which was
22
     foreseeable by the manufacturer, and possessed this knowledge from at least the year
23
     2006, though more likely from the 1990's. Nevertheless, they marketed the subject
24
     fuel cylinder and torch products (here containing propane and limiting to the TS4000
25
     torch apparatus) in total and complete silence as to the fact that these subject products
26
     had failed and were capable of failing while being used in a manner which was
27
     intended by the manufacturer and which was foreseeable by the manufacturer, causing
28

     FIRST AMENDED COMPLAINT                    14                          2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 15 of 18



 1   the users and consumers to believe that the products were safe to use and would not
 2   cause injury or death when used in an intended and foreseeable manner.
 3         54.    Defendants (excluding CPSC) were aware that the product users and
 4   consumers believed the subject products to be safe for use and were unaware that the
 5   subject products could fail and cause injury or death when used in an intended and
 6   foreseeable manner.
 7         55.    Plaintiff relied upon the actual and implied representations of Defendants
 8   (excluding CPSC) and therefore believed that the subject products would not fail and
 9   cause injury or death when used in an intended and foreseeable manner.
10         56.    Plaintiff was using the subject products in an intended and foreseeable
11
     manner, when without being subjected to any abuse or misuse whatsoever, the fuel
12
     cylinder leaked fuel at the center bushing area, and the fuel ignited, causing plaintiff
13
     to drop the cylinder/torch assembly. The assembly hit the ground with the tip of
14
     theTS4000 torch containing the safety fracture groove feature. The fracture groove did
15
     not fracture, but instead, the fuel cylinder ripped open at the location of the center
16
     bushing. The fuel rushed out under tremendous pressure and caused severe burn
17
     injuries to plaintiff, as well as pressure and burn damage to his home.
18
           57.    Plaintiff is informed and believes, and on the basis of belief alleges that
19
     under Arizona law, the intentional torts of assault and battery take place where a
20
     defendant was consciously aware of the wrongful or harmful nature of his conduct and
21
     nonetheless persisted in that conduct, causing a harmful or offensive contact with the
22
     person of another, as well as simply putting the person in apprehension of a battery.
23
     (See Rawlings v. Apodaca, 151 Ariz. 149, 162, 726 P.2d 565, 578 (1986).)
24
           58.    Defendants (excluding CPSC) were consciously aware of the wrongful
25
     and harmful nature of their conduct in manufacturing, marketing, distributing and
26
     selling these very dangerous and lethal subject fuel containers and torch units (as
27
     limited to propane fuel and the TS4000 torch unit by Court order), and had actual
28

     FIRST AMENDED COMPLAINT                   15                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 16 of 18



 1   knowledge that some of the users of these products would inevitably suffer severe
 2   injuries, which at times could be fatal. Nevertheless, with knowledge of the inevitable
 3   injuries, Defendants (excluding CPSC) continued to manufacture, market, distribute
 4   and sell these subject products to the public. Plaintiff purchased one of these
 5   products, and it failed while he was using it in an intended and foreseeable manner,
 6   causing him severe extensive burn injuries, and damaging his home.
 7         59.    Plaintiff pleads and alleges intentional torts of fraud, misrepresentation,
 8   battery, and actual intent to cause harm by way of Defendants’ (excluding CPSC)
 9   wrongful acts set forth above.
10         60.    Plaintiff pleads that the wrongful acts described above amount to gross
11
     negligence as well as likely criminally culpable misconduct.
12
           WHEREFORE, Plaintiff prays for all actual, general, and special damages
13
     according to proof at trial, for in particular, for punitive damages for the intentional
14
     torts of fraud, misrepresentation, assault and dbattery, in an amount to be determined
15
     by the trier of fact, and for such other and further relief as the Court deems proper.
16
        THIRD CAUSE OF ACTION FOR DECLARATORY RELIEF (CPSC)
17
           Plaintiff incorporates by reference all of the general allegations and factual
18
     recitals contained above, and pleads as and for a THIRD cause of action, with respect
19
     to CPSC only, and based on information and belief, as follows:
20
           61.    CPSC was created by the United States Government to implement and
21
     enforce rules, regulations, requirements and procedures which must be followed by
22
     manufacturers and distributors of ultrahazardous substances and materials. It’s
23
     creation was for the safety and protection of users of such products, and generally, for
24
     the public at large. As such, CPSC owed and owes Plaintiff, and all others similarly
25
     situated, a duty to act so as to cause the recall of dangerous ultrahazardous products,
26
     particularly products which are extremely flammable. (See the Federal Hazardous
27
     Substances Act (FHSA).)
28

     FIRST AMENDED COMPLAINT                   16                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 17 of 18



 1         62.    Plaintiff alleges that the subject products fall within the purview of
 2   products the CPSC must regulate.
 3         63.    Plaintiff respectfully moves for declaratory relief establishing that the
 4   subject products fall within the purview of products the CPCS regulates, the subject
 5   products are defective and unreasonably safe, and the subject products are reasonably
 6   subject to recall by the CPSC for the safety and protection of the product users and the
 7   public at large.
 8
 9         Plaintiff respectfully demands trial by jury.
10
11
     Dated: December 18, 2017                       s/Andrew W. Shalaby
12                                                  Andrew W. Shalaby, Attorney for
                                                    Plaintiff Jason Peralta
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     FIRST AMENDED COMPLAINT                   17                         2:17-cv-03195-JJT
      Case 2:17-cv-03195-JJT Document 43 Filed 12/18/17 Page 18 of 18



 1                           CERTIFICATE OF SERVICE
 2        I hereby certify that on December 18, 2017 I caused the foregoing document to
   be filed electronically with the Clerk of this Court through the CM/ECF system for
 3 filing; and served on counsels of record via the Court’s CM/ECM system.
 4   Dated: December 18, 2017                   s/Andrew W. Shalaby
                                          Attorney for Plaintiff Jason Lou Peralta
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     FIRST AMENDED COMPLAINT                18                       2:17-cv-03195-JJT
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 9   Kurtis M. Bailey
10
11
12
                 IN THE UNITED STATES DISTRICT COURT FOR THE
13
                           NORTHERN DISTRICT OF ILLINOIS
14
                                    WESTERN DIVISION
15
16
     KURTIS M. BAILEY,                       Case Number: 16 CV 07548
17
                               Plaintiff,
18
           vs.                               SECOND AMENDED COMPLAINT
19                                           FOR
     WORTHINGTON CYLINDER
20   CORPORATION; WORTHINGTON                1. INJUNCTIVE RELIEF (PRODUCT
     INDUSTRIES, INC.;                       RECALL);
21
                        Defendants.          2. PRODUCTS LIABILITY;
22
                                             3. INTENTIONAL TORT;
23
                                             4. DECLARATORY RELIEF
24                                           REGARDING THE NON-
                                             APPLICATION OF “Daubert” IN
25                                           FEDERAL COURT DIVERSITY
                                             JURISDICTION ACTIONS
26
27                                           Demand for Jury Trial
28

     Second Amended Complaint               1                  Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 2 of 10 PageID #:339



 1
 2                             NOTICE OF RELATED CASE
 3         This case is related to the following case pending in the United States District
 4   Court for the Central District of California:
 5   Lindsay Marmont et al. v. Bernzomatic, et al., 2:16-cv-00848-JAK-RAO as follows:
 6         (a) This case and the related case involve the same product;
 7         (b) This case and the related case involve the same defendants;
 8         (c) the defects alleged in relation to the product are believed to be the same in
 9         both cases.
10         (d) the defense witnesses and experts are believed to be the same in both cases.
11
     There is no related case of which Plaintiff is aware in the District Court for the
12
     Northern District of Illinois.
13
14
                                      I. JURISDICTION
15
           This is a product defect action which aries in relation to 49 CFR § 178 et seq.,
16
     aka "Dot 39" (government mandated safety requirements). The amount in controversy
17
     exceeds $75,000. Plaintiff is a resident and citizen of Winnebago, Ill.
18
           Based on information and belief, Plaintiff alleges that Defendant,
19
     WORTHINGTON CYLINDER CORPORATION, is incorporated in the State of
20
     Wisconsin, with it’s principle place of business also located in Wisconsin. This
21
     defendant, on it’s answer to this complaint, is expected to confirm this fact. See
22
     paragraph 4 below.
23
           Based on information and belief, Plaintiff alleges that Defendant,
24
     WORTHINGTON INDUSTRIES, INC., is incorporated in the State of Ohio, with it’s
25
     principle place of business also located in Ohio. This defendant, on it’s answer to this
26
     complaint, is expected to confirm this fact. See paragraph 5 below.
27
28

     Second Amended Complaint                   2                   Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 3 of 10 PageID #:340



 1                                        II. VENUE
 2         The injury at issue occurred in Winnebago County, Illinois, therefore venue is
 3   proper in this Court.
 4                                      III. PARTIES
 5         1.     Plaintiff, Kurtis M. Bailey (hereinafter “Plaintiff”), is a competent adult
 6   individual, and a resident of Winnebago, IL.
 7         2.     Based on information and belief, Plaintiff alleges that WORTHINGTON
 8   CYLINDER CORPORATION, AND/OR WORTHINGTON INDUSTRIES, INC.,
 9   purchased the brand name, “BERNZOMATIC,” approximately in July 2011.
10         3.     Based on information and belief, Plaintiff alleges that WORTHINGTON
11
     CYLINDER CORPORATION, AND/OR WORTHINGTON INDUSTRIES, INC.
12
     also do business as (dba) “BernzOmatic,” to the extent that the brand name
13
     “BernzOmatic” exists on the subject fuel cylinder in this case. Plaintiff bases this
14
     information in part on the WORTHINGTON INDUSTRIES INC.’s internet posting
15
     located at: (http://worthingtonindustries.com/Company/Mergers-Acquisitions;
16
     http://worthingtonindustries.com/Products/Consumer-Tradesman-Products/Bernzo
17
     matic-(1).
18
           4.     Based on information and belief, Plaintiff alleges that WORTHINGTON
19
     CYLINDER CORPORATION, AND/OR WORTHINGTON INDUSTRIES, INC.
20
     also do business as (dba) WORTHINGTON CYLINDER WISCONSIN, LLC.
21
           5.     Based on the above facts, and on information and belief, Plaintiff alleges
22
     that there is complete diversity of citizenship, and therefore this Court has diversity
23
     jurisdiction pursuant to 28 U.S.C. § 1332.
24
                                IV. SUBJECT PRODUCTS
25
           6.     Based On information and belief, Plaintiff alleges that at all times
26
     relevant herein BERNZOMATIC was the manufacturer and/or marketer and producer
27
     of a handheld torch, consisting of three components: (1) a fuel cylinder, (2) an ultra
28

     Second Amended Complaint                   3                   Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 4 of 10 PageID #:341



 1   hazardous fuel (Propane or MAPP gas), and (2) a torch handle which mounted onto
 2   the cylinder, identified by part number “UL 2317 0913.” These components shall
 3   jointly be referenced as the “subject torch,” referring specifically to the torch products
 4   relevant to this action as further described below.
 5         7.     While the fuel cylinder in this action contained propane, this action seeks
 6   recall of several million defective cylinders, including seemingly identical metal
 7   cylinders containing a gas known as "MAPP” gas. All of these metal cylinders shall
 8   therefore be referenced throughout this complaint as "subject cylinders."
 9         8.     While the torch tip in this action is identified as "UL2317," this action
10   includes another torch tip manufactured by Bernzomatic, known as the "TS 4000," and
11
     alleges that both of these torch tips contain the same defect. The defect is that these
12
     two torch tip designs include safety fracture groove features intended to cause the tip
13
     of the torches to break upon application of force in order to prevent the catastrophic
14
     breach and failure of the fuel cylinders, but in many instances these fracture groove
15
     features have failed, causing severe injuries and deaths. These torch tips also include
16
     a defective trigger-hold feature which allow the gas to emit from the tips while the
17
     user is holding the product by the fuel cylinder, also leading to several catastrophic
18
     failures, injury, and death. Both of these torch tip designs shall be referenced as the
19
     “subject torch tips” throughout this complaint.
20
                FIRST CAUSE OF ACTION FOR INJUNCTIVE RELIEF
21                   (COMPLIANCE WITH 49 CFR 178 et seq.)
22         Plaintiff incorporates by reference all of the general allegations and factual
23   recitals contained above, and pleads as and for a FIRST cause of action as follows:
24         9.     The subject fuel cylinders, ultra hazardous fuel, and torch tips, including
25   their packaging, warning labels and disclosures, must comply with the requirements
26   of 49 CFR section 178 et seq., also known as “Dot 39" requirements, imposed by the
27   United States Federal Government. Based on information and belief, Plaintiff alleges
28

     Second Amended Complaint                    4                    Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 5 of 10 PageID #:342



 1   that the above-described products failed to comply with 49 CFR 178 et seq. in several
 2   regards, including but not limited to the following:
 3   (A)   The subject cylinders must contain brazed seams which are assembled to proper
 4         fit to ensure "complete penetration of the brazing material throughout" all
 5         "brazed joins." The subject cylinders do not comply with this requirement.
 6   (B)   The subject cylinders must contain brazed seams which have "design strength
 7         equal to or greater than 1.5 times the maximum strength of the shell wall."The
 8         subject cylinders do not comply with this requirement.
 9   (C)   The subject cylinders must contain "welded seams which are properly aligned
10         and welded by a method that provides clean, uniform joins with adequate
11
           penetration." The subject cylinders do not comply with this requirement.
12
     (D)   The subject cylinders contain material used for welded openings and
13
           attachments which are of "weldable quality and compatibility with material of
14
           the cylinder." The subject cylinders do not comply with this requirement.
15
     (E)   When "one cylinder taken from the beginning of each lot, and one from each
16
           1,000 or less successively produced within the lot thereafter" is "hydrostatically
17
           tested to destruction" as mandated, the entire lot is rejected if ever a "failure
18
           initiates in a braze or a weld or the heat affected zone thereof. The subject
19
           cylinders do not comply with this requirement.
20
     (F)   When the test done above results in a failure occurring in any opening,
21
           reinforcement, or at a point of attachment, the entire lot is rejected and
22
           discarded. The subject cylinders do not comply with this requirement.
23
     (G)   The subject cylinders must otherwise comply with all "Dot 39" requirements
24
           and thus meet minimum required governmental safety requirements. The
25
           subject cylinders do not comply with this requirement.
26
           10.    Plaintiff suffered severe burn injuries on May 20, 2014 when the cylinder
27
     he was using had breached and failed. The failure of the cylinder owned by the
28

     Second Amended Complaint                   5                   Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 6 of 10 PageID #:343



 1   plaintiff was the result of the failure of his cylinder, and generally, the subject
 2   cylinders, to comply with the requirements of 49 CFR § 178. The cylinder owned by
 3   the plaintiff was weak and substandard, causing the fuel cylinder to fail and breach
 4   upon contact of the tip of the torch with a solid object, while the fuel and emission
 5   lock was engaged on the torch tip. This resulted in a catastrophic failure which has
 6   caused severe burn injuries to the plaintiff in this action.
 7         11.    Plaintiff seeks recall of the subject fuel cylinder, and all of the subject
 8   cylinders, on behalf of himself and on behalf of the general public, under federal
 9   private Attorney General statute, and also under the private attorney general statutes
10   of the States of California and Illinois.
11
           12.    Plaintiff is entitled to statutory attorney fees under the private attorney
12
     general statutes referenced above.
13
           13.    WHEREFORE, Plaintiff prays for a prohibitory injunction to be imposed
14
     upon BERNZOMATIC, and all the named defendants, to recall all of the defective
15
     cylinders, and comply wi 49 CFR § 178 et seq. in production and distribution of the
16
     above said products in interstate commerce and at all locations where sold and
17
     distributed throughout the United States and worldwide. Plaintiff further prays for
18
     actual damages in an amount of not less than $2,000,000, punitive damages according
19
     to proof a set forth below, statutory attorney's fees, costs of suit, and such other and
20
     further relief as this court deems proper.
21
                  SECOND CAUSE OF ACTION FOR NEGLIGENCE
22                         (PRODUCTS LIABILITY)
23         Plaintiff incorporates by reference all of the general allegations and factual
24   recitals contained above, and pleads as and for a SECOND cause of action, on
25   information and belief, as follows:
26         14.     The subject fuel cylinders, including the fuel cylinder which failed and
27   severely injured the plaintiff, contain both design and manufacturing defects at the
28   uppermost portion of the cylinders. The defects include but are not limited to an
     Second Amended Complaint                     6                 Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 7 of 10 PageID #:344



 1   improper and substandard connection between the narrow thread assembly located at
 2   the top of the cylinder and the horizontal surface of the cylinder to which it attached,
 3   a defective design with a pressure relief valve that causes it to sometimes fail and lead
 4   to a catastrophic explosion of the cylinder, and poor quality of products and materials
 5   which sometimes lead to the production of cylinders which are incapable of
 6   withstanding the amount of force they were designed to withstand before breach. The
 7   most frequent and prevalent failures occur between the welded joining of the narrow
 8   thread assembly and the horizontal surface of the cylinder. There have been many
 9   such failures throughout the country and worldwide with these products produced by
10   Bernzomatic.
11
           15.    The defects with the subject torch heads, including the torch head used
12
     by the plaintiff at the time of injury in this case, exist on the safety feature known as
13
     the "fracture groove" of the torch heads. The application of force to the tip of the
14
     torches was deemed a foreseeable event by Bernzomatic, and prompted the design and
15
     implementation of the fracture groove features in the torch heads. However, in every
16
     known incident of failure of the fuel cylinder upon the application of pressure to these
17
     torch tips, in the many cases and litigation materials in the possession of this plaintiff,
18
     the torch head fracture groove features have failed to fracture and prevent the
19
     catastrophic failure of these fuel cylinders. Many of these actual failed devices are
20
     posted on a website located at www.Bernzomaticinjuries.com .
21
           16.    Bernzomatic is aware of the existence of the above-described defects, and
22
     in the year 2008, by way of misrepresentation to a web hosting service, had a website
23
     "Bernzomaticinjuries.com" taken down. The holder of the domain was successful in
24
     putting the website back up, only to be met with a complaint filed on November 21,
25
     2008 by Bernzomatic, which was filed with the "World Intellectual Property
26
     Organization Arbitration and Mediation Center" in Switzerland, in an effort to remove
27
     the website so that the public would not be made aware of these defects. The action
28

     Second Amended Complaint                    7                    Case No. 16 CV 07548
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 1   was not successful, and further, establishes the actual knowledge and awareness of
 2   Bernzomatic of these defects, and failure to act and prevented the injuries in this case,
 3   and in the related case referenced above.
 4         17.    Bernzomatic failed to warn of the above-described defects.
 5         18.    Bernzomatic failed to disclose the above-described defects to the
 6   consumers.
 7         19.    Bernzomatic failed to cure the above-described defects and did not
 8   effectively recall the products. Bernzomatic partially recalled the fuel cylinders in the
 9   United States and Canada on January 17, 2012, but failed to take appropriate measures
10   to bring the product defects to the attention of the consumer and the public. The recall
11
     was unreasonably silent.
12
           20.    Several of the torch tips produced by Bernzomatic appeared, visually, to
13
     have completely omitted the fracture groove feature, while the packaging in which the
14
     torch heads were marketed and sold contained photographs showing and describing
15
     the fracture groove feature on the back of the package.
16
           21.    As with the fuel cylinders, Bernzomatic knew of the defects with the
17
     torch heads, failed to warn the public and consumers, failed to recall the products, and
18
     severe injuries and deaths have resulted.
19
           WHEREFORE, Plaintiff prays for judgment against all of the above named
20
     defendants for all damages suffered by Plaintiff as the result of the failure of his
21
     defective fuel cylinder and torch head product, in an amount of not less than
22
     $2,000,000, and further, for punitive damages based on malice and intentional failure
23
     to act and failure to warn, for recall of the subject products, for attorney's fees
24
     pursuant to statute, for costs of suit, and for such other and further relief as the court
25
     deems proper.
26
     ///
27
28

     Second Amended Complaint                    8                    Case No. 16 CV 07548
 Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 9 of 10 PageID #:346



 1               THIRD CAUSE OF ACTION FOR INTENTIONAL TORT
 2         Plaintiff incorporates by reference all of the general allegations and factual
 3   recitals contained above, and pleads as and for a THIRD cause of action, based on
 4   information and belief, as follows:
 5         22.    Bernzomatic was aware of the defects with the subject products as
 6   described above for many years before the injury to this plaintiff and to the plaintiff
 7   in the above-referenced related action.
 8         23.    Bernzomatic's awareness of the existence of the above-described defects
 9   is evidenced by its action in illegally taking down the website, which is located at :
10   "www.Bernzomaticinjuries.com," as well as its initiation of the action in Switzerland
11
     to try to remove the website in the year 2008.
12
           24.    Bernzomatic failed to warn plaintiff and all other consumers of the
13
     above-described product defects, and failed to take reasonable measures to remove
14
     and retrieve from consumers the defective products before plaintiff, as well as the
15
     plaintiff and the related action, and several other persons, suffered severe injuries,
16
     including death of the person described in the related action.
17
           25.    Punitive damages are warranted and appropriate based on the above
18
     described wrongful conduct of all of the above-named defendants.
19
           WHEREFORE, Plaintiff prays for judgment against all of the above named
20
     defendants for all damages suffered by Plaintiff as the result of the failure of his
21
     defective fuel cylinder and torch head product, in an amount of not less than
22
     $2,000,000, and further, for punitive damages based on malice and intentional failure
23
     to act and failure to warn, for recall of the subject products, for attorney's fees
24
     pursuant to statute, for costs of suit, and for such other and further relief as the court
25
     deems proper.
26
     ///
27
28

     Second Amended Complaint                    9                    Case No. 16 CV 07548
Case: 1:16-cv-07548 Document #: 60 Filed: 09/29/16 Page 10 of 10 PageID #:347



 1         FOURTH CAUSE OF ACTION FOR DECLARATORY RELIEF
           RE INAPPLICABILITY OF “DAUBERT” IN DIVERSITY CASES
 2
           Plaintiff incorporates by reference all of the general allegations and factual
 3
     recitals contained above, and pleads as and for a FOURTH cause of action as follows:
 4
           26.    Federal Courts sitting in diversity are applying expert witness
 5
     admissibility standards as articulated in Daubert v. Merrell Dow Pharmaceuticals,
 6
     Inc., 509 U.S. 579 [125 L. Ed. 2d 469] (1993). However, Daubert was a California
 7
     diversity jurisdiction case itself, and had a 4-judge dissent at the Supreme Court level.
 8
     Plaintiff moves to have this admissibility standard declared inapplicable on grounds
 9
10
     that the law at issue is substantive rather than procedural, and leads to a different

11   outcome in many instances than would the application of State law. This allegation

12   is based in part on the fact that in at least one similar Federal Court case, alleging the

13   same basic defects pertaining to the same products and involving these same

14   defendants, a plaintiff’s expert witness met the qualifications and admissibility

15   requirements for expert witness testimony under State law (California), but was
16   nevertheless disqualified under Daubert in Federal Court, leading to dismissal of a
17   case that otherwise would likely have resulted in a recall years earlier, hence
18   prevention of this plaintiff’s injuries and the deaths that have occurred since dismissal
19   of said other action, hence deeming Daubert and F.R.Evid. Rules 702 and 703
20   substantive rather than procedural in nature, and warranting the remedy requested.
21
22         A jury trial is respectfully demanded in this action.
23
24   Dated: September 23, 2016                              s/Andrew W. Shalaby
                                                     Andrew W. Shalaby, Attorney for
25                                                   Plaintiff Kurtis M. Bailey
26
27
28

     Second Amended Complaint                   10                    Case No. 16 CV 07548
EXHIBIT B
RICHAPJ) A. ERGO (Cal. Bar #110487)
JASON J. GRANSKOG (Cal. Bar #190233)
Bowies & Verna
    l N. Cal.ifomia Blvd., Suite 875
'Walnut Creek, California 94596
Telephone: (925) 935-3300
Facsim.ile: (925) 935-0371
Email: rergo@bov,rlesvema.com
       jgranskog@bowlesvema.com

JA1\tIES J. OSBORNE (#009790)
JONES, SKELTON & HOCHULI P.L.C.
40 North Central Avenue, Suite 2700
Phoenix,                  85004
Telephone: (602) 263-1700
Facsimjle: (602) 200-7843
En1ail: i9sbome@jshfim1.com

Attorneys for Defenda,.1ts
\Northington Industries, Inc.; Worthington
Cyli:._~de:r Corporation; Worthington
Cyfo:1c~cr Corporation, LLC; and
Vv' cJ:tLfog·ton Cylinders Wisconsin, LLC

                              lN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OP ARIZONA

JaS01.'1       Peralta~                               Case No. 2:17-cv-03195-DMF




Bemzm:natic; Vv'orthington Industries, Inc.;
\Vorthington Cylinder Corporation; Worthington
Cylinder Corporation, LLC; Wm1hington Cylinder
Wisconsin, LLC;

            Defendants.

              WORTHINGTON INDUSTRIESj INC:i WQRTHINGTON CY.LINDER
           ~ORPORATION;           'WORTHINGTON CYLINDER CORPORATION, LLC A@
  VVORTHINGTQN CYLINDERS 'VISCQNSIN, LLc~s OBJECTION TO PLAINTIFF'S
       J::IOT1C~ O_F DEPOSTUON OF ~~~~'IN NELSON AND DAVID THOMAS




                                                 1
       Worthington Industries, Inc., Worthington Cylinder Corporation, Worthington Cylinder

Corporation, LLC and Worthington Cylinders Wisconsin, LLC (collectively "Worthington")

object to plaintiffs notice of deposition for John Nelson and David Thomas, currently scheduled

for December 19 and 20, 2018, respectively, as follows:

       1.      Despite the court's order prohibiting discovery on cylinders other than "NRT"

propane cylinders, Plaintiffs notice indicates that the matters covered in the depositions will

incbde issues with "NRT" fuel cylinders without any limitation to propane NRT

;_:ylinders. Plaintiff has previously sought discovery on MAPP gas cylinders and court has

disallowed such discovery.

       2.      Despite the court's order proh:biting discovery on cylinders other than "NRT"

propane cylinders, Plaintiff's document request seeks doclli11ents "pertaining to the Non-

                ('NRT') cylinders containing all types of flammable fuels ... " Plaintiff has

prevbusly scught discovery on MAPP gas cylinders and court has disallowed such discovery.

       3.         the plaintiff pursues such discovery in violation of the Court's orders,

'\Vorthington reserves the right to seek all possible remedies and sanctions against the plaintiff

:md counsel.




\\


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\\

\\,\




                                                2
By:

Richard A.
Jason J Gra.'1skog
BO\VLES & VERf'-.JA LLP
2121 N. California Blvd., Suite 875
Walnut Creek, CA 94596
Tel: (925) 935-3300
rergo@bowlesverna.com
jgranskog@bowlesvema.com
Attorneys      Defendai1ts Worthington
Industries, Inc.; Worthington Cylinder Corporation;
Worthington Cylinder Corporation, LLC and
71/cirthington Cylinders \Visconsin, LLC




                                               3
                 1                                                            PROOF OF SERVICE
                                                                 Peralta v. Worthin_gtonton Industries, Inc.• et al.
                 2
                                                              USDC, District of Airizona, Case No. 2:17-cv-03195-DMF
                 3
                                        I, the undersigned, declare as follows:
                 41
                 sl         I an1 a citizen of the United States, over the age of 18 years, and not a party to, or
                   i interested in the within entitled action. I am an employee of BOWLES & VERNA LLP,
                 61
                     and my business address is 2121 N. California Blvd., Suite 875, Walnut Creek,
                 11I    ,. ~ . 94:Y
                     C antorma     11 ~96
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                 8j
                      l                 On November 8, 2018, I served the following document(s):
                 91l
                lO I                 WORTHINGTON INDUSTRIES, INC.~ WORTHINGTON CYLINDER
                   1              CORPORATION; WORTHINGTON CYLINDER CORPORATION, LLC AND
                11 j:                WORTHINGTON CYLINDERS 'NISCONSINi LLC'S OBJECTION TO
                   l               PLAlNTIFF'S NOTICE OF DEPOSTIION OF JOHN NELSON AND DAVID
                12 j                                                                                THOJ\ifAS
                13    Ij: on the following parties in this action addressed as follows:
                      i:
                14    jj

                 ~Ii l1.NJ?RE\Y w. SHALABY (# 206841)
                L     1:_
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                16    !                             CA 94530
                      I Telephone: (510) 551-8500
                171 Facsimile: (510) 725-4950
                  '"'Ii           : And;·ew@eastbaylaw.com
                l~ II Attorney for )>laintiff
                  o I! JASON LOU PERALTA
                l '7 i l
                     Iih ,. A - ff~s             I
                20 l! J rJVlE                     OSBORJ\TE \ 009790)
                   II                       SKELTON & HOCHlJLI, P.L.C.
                21 F40 North Central Avenue, Suite 2700
                ?? j Phoenix, Arizona 85004
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                231             . . ._ (602)~00-7843
                   '.               .JOSborne(p1shfim1.com
                   I
                24 1 Co-Counsel for Defendants
                   I Vvorthington Industries, Inc., 'Northington
                   I. Cylinder Corporation and \Vorthington
                      I'
                ?' Cylinder Vlisconsin
                ~-0 i
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Bowles & Verna LLP    I
 2121 N. Cn~ifornia   !
      11    5
Wain~: ~;e!~ 94596    I                                                                          PROOF OF SERVICE
                    l        DAVID vVEI CHEN
                    r;       Law Office of David W Chen PC
                    L        1300 Clay Steet, Suite 600
                    3        Oakland, CA 94612-1427
                             (510) 575-0851
                    4 EmaH: david.chen@davidwchenlaw.com
                            BY UNITED STATES MAIL: I enclosed the documents in a sealed envelope
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                            or package ad<ll:esse~ to the pe~~?ns at tp_e ~ddresses li~ted abov~. I place<l; the
                    6       enveloP.e for collection and maHmg, foHowmg our ordmary busmess practices. I
                            am readily familiar with this business's practice for collectmg and processing
                    7       corresP.ondence f~r. maifil!g. On tqe same day t~at correspondence !S place~ Ior
                            collection and mailmg, 1t 1s denos1ted m the ordmary course ofbusmess with the
                    8                                                 in
                            United States Postal Service. a sealed envelope with postage fully prepaid.
                      ,____ RY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or
                    9       pac:kage provideq by an overnight delivery carrier and addressed to tl1e Pt:rsons
                            at the addresses hsted above. I placed the envelope or package for collect10n and
                  l0                  ov~might    de!ivery at an office or a regularly utilized cfrop box of the overnight
                                      dehvery carrier.
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                                      BY PERSONAL SERVICE: I caused to be served each document listed above
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                                      at!orneys 9tfic~ by }eavmg the _do_cuments map. envelope.or package ~le~trb~ .
                 13                   labeled to identify the attorney bemg served with a recept10mst or an md1v1dual
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                                          ~: l; l se~ve.a a copy ot t~e w1tl}m aocument(s) or:- ~e above mterested parties
                                         1ne facs1m1le numbers listed above. The transrmss1on was reported as
                                       compl~te. and wi~ho.ut error.. The trax1smission report was properly issued by the
                                      transrmttmg facsirmle machme.
                 17
                                          ELECTRONIC SERVICE VIA Cl\11/ECF SYSTEM: In accordance with
                 18                       electronic filing procedures of this Court, service has been effected on the
                                      afor~rrientione~s·am:(s) a~ove~ who?e corn:isel of recprd)s a registered
                 19      !
                                      parncmant of c~1/ECF, via electromc service through CMIECF system.
                 20
                                    I declare under penalty of pe1jury under the laws of the State of California that
                 21          the foregoing is true and correct.

                                      Executed on November 8, 2018, at Walnut Creek, California.




                                                                                 Teresa L. Everett
                 26
                 27
                 28
fkYwle& & Ve:rna LLP
  2; 2 l N. California
    Suite 875
                                                                             2
Walnu' Creek 94596                                                  PROOF OF SERVICE
                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHER.N DISTRICT OF ILLINOIS
                                     WESTERN DIVISION

KURTIS M. BAILEY,                             )
                                              )
                   Plaintiff,                 )
                                              )
                                              )      Case No. 16-cv-7548
                                              )      Judge Philip G. Reinhard
BERNZOMATIC, et al.,                          )      Magistrate Judge Iain D. Johnston
                                              )
                   Defendants.                )

WORTHINGTON CYLINDER CORPORATION AND \VORTHINGTON INDUSTRIES 1
INC. OBJECTION TO PLAINTIFF' 9 S NOTICE OF DEPOSTIION OF JOHN NELSON
                        AND DA~ID THOMAS


         \Vorthington Cylinder Corporation and Worthington Industries, Inc., (collectively

"'}v'orr.hington") object to plaintiffs notice of deposition for John Nelson and David Thomas,

e:tmently schech1lec for Dec,ember 19 and 20, 2018, respectively, as follows:

         'I
         ".       DeE:pite the court's order prohibiting discovery on cylinders other than "NRT"

propane cylinders, Plaintiffs notice indicates that the matters covered in the depositions will

include issues v.1ith "NRT" fuel cylinders without any limitation to propane NRT

cylinders. Plaintiff has previously sought discovery on MAPP gas cylinders and court has

disallowed          discovery.

         2.       Despite the court's order proi1ibiting discovery on cylinders other than "NRT"

propar~e      cylinders, Plaintiff's document re(;uest seeks documents "pertaining to the Non-

Ft.efillable       ('NRT') cylinders containing      types of flammable fuels ... " Plaintiff has

previo:Jsly sought disc::;very on MAPP gas cylinders and court has disallowed such discovery.
       3.    The Court has imposed a stay of this action pending the decision whether to revoke

Andrew Shalaby's pro hac vice status >ATith an exception as to matters the parties agree to

perform. Worthington had agreed to these depositions, but did not expect that counsel would

seek documents and/or testimony in areas previously excluded by the Court.              Accordingly,

\Vorthington withdraws its previous agreement

       If the plaintiff pursues such discovery in violation of the Court's orders, Worthington

                    seek all possib:e remedies and sanctions against the plaintiff a.ri.d counsel.




By:                                                   _Isl James W. Ozog



         Aa~ Ergc
Jason J Granskog                                      James W. Ozog
BO'NLES VER1'~A LLP                                   GOLDBERG SEGALLA LLP
2121 N. California Blvd., Suite 875                   311 S. Wacker Drive, Suite 2450
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Tel: (925) 935-3300                                   Tel: (312) 572-8406
Fax: (925) 935--0371                                  Fax: (312) 572-8401
rergo@bowlesvema.con:1.o                              jozog@goldbergsegalla.com
igran~bowlesvema.com                                  Attorney for Defendants Worthington
Attorneys for Defenda11ts Worthington                 Cylinder Corporation and Worthington
Cylinder Corporation and Worthington                  Industries, Inc.
Industries, Inc.




                                                 2
                       1                                                                      PROOF OF SERVICE
                       2                                                                   Bailey v. Bernzomatic, et al.,
                                                                             USDC~   Central District of Illinois, Case No. 1:16-cv-07548
                       3
                                                       I, the undersigned, declare as follows:
                       LI
                           ( Ii
                       t"        1
                       JI         I am a citizen of the United States, over the age of 18 years, and not a party to, or
                           interested in the within entitled action. I am a..11 employee of BOWLES & VERNA LLP,
                       61
                         I and my business address is 2121 N. California Blvd., Suite 875, Walnut Creek,
                       71 Califorr1ia 94596.
                                 I
                       8!I                             On November 8, 2018, I served the following document(s):
                       91'
                                 !
                                 !                     'IVORTHINGTON CYLINDER CORPORATION AND WORTHINGTON
                   lO IL INDUSTRIES, INC., OBJECTION TO PLAINTIFF'S NOTICE OF DEPOSTIION OF
                   11 j'                   JOHN :NELSON AJ\JTI DAVID THOMAS

                   121                   on the following parties in this action addressed as follows:
                   l~ Ijl

                      I· A.NDRE\V W. SF..ALABY (# 206841)
                   l "'i'A Ii 7'251ev1st"n···
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                                              .r-1..    '     .}. _          .t   t.;.v



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                                                Cerrito, CA 94530
                                 1
                                         Telephone: (510) 551-8500
                   161                   Facsimile: (510) 725-4950
                             . Email: Andrew(@eastbaylaw.com
                   11  ~
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                   18 : 1300 Clay Street, Suite 600
                           Oakland, CA 94612
                                     ·


                   19
                           Phone: 510-575-0851
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                   L I
                   ·''U- l Fax: 510-201-1577
                             I Pavid"ch~davidv~rchenlaw.com
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                   '"').,"''! Attorney
                   ·~LI                at Law
                              1318 East State Street
                   /   '\: 2
                   -··-- l :Rockford, IL 61104
                   24        j\          (815) 964-8800
                  . -I'                  Email: jmnconstl318@yahoo.com
                   2:;                   Attorneys for Plaintiff
                  26                     KURTIS M. BAILEY
                   ~;7 ~
                  -~;        I
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                   L~        II
Bov.1 les & Verna LiJ-,.     j
 2 l 2 l N. California
        Suite 875
VVa!nut Creek 945~>6
                             l
                             ~                                                                    PROOF OF SERVICE
                          James     . Ozog
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                          GOLDBERG SEGALLA LLP
                    3     3 l l S. Vlacker Drive, Suite 2450
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                                     lL       60r0~
                                              1_1 0 c(>
                         iozog@goldbergsegalla.com
                          Atfornt;y for Defendant
                          WORTHINGTON CYLINDER
                          CORPORATION and V/ORTHINGTON
                          INDlJSTH:.IES, INC.

                                      UNITED STATES MAIL: I enclosed the documents in a sealed envelope
                         ,..~~~~ or package addressed to the persons at the addresses listed above. I placed the
                                 envelop~ for c~l~ectiof1 anq n;-ail~ng, followi~g our ordinary busir~ess prac~ices. I
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                                  package provideq by a~ oven1ight delivery carrier and addressed to the p~rsons
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                                  ~v~rnight de~ivery at an office or a regularly utilized drop box of the overnight
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                                      PERSONAL SERVICE: I caused to be served each document listed above
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                                  ~t~c1rnev's ~ffic~ ~y ).eaving the do.cuments 1n aµ envelope.or package ~le~rb~ .,
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                                  in charge of the office.
                         ,________ B,X F~X 1fRA.o.NSNHS~ION~. By use of facsimile machine n~mber (925) 9~5-
                                   0J ~ 1 l ser:ve!1 a copy ot t~e w1thm doc~¥Jent( s) Ol} t4e above mterested parties
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                                  con1pI~te. and wi~ho.ut error.. The transmission report was properly issued by the
                                  transrn1ttmg facs1m1le machme.
                                      ELECTRONIC SERVICE VIA E~MAIL AND/OR CM/ECF SYSTEM:
                                  _, accc:._rdance with the~ electmn)c filing procedures of this Court, service has .
                                   beep erfected ~n~ the atc:.re~1ent~oned. party( s) a~ove, 'Yhose counsel of record is a
                                  registered part1c1pant ot CNli!L.CF, via electromc service through CM/ECF
                                  S'..;stern.

                                 I declare under penalty of pe1jury under the laws of the State of Califoniia that
                          the foregoing is true and correct.

                                  Execm.ed on November 8, 2018~ at 'Walmrt Creek, California.




8c'-' :es & Verna LU')                                                       Teresa Everett
 21 :.r; N. California
                                                                         2
        Suite 875
Vv·a:nw Creek 94506                                             PROOF OF SERVICE
EXHIBIT C
Case: 1:16-cv-07548 Document #: 400 Filed: 11/20/18 Page 1 of 1 PageID #:3967

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Kurtis M. Bailey
                              Plaintiff,
v.                                                  Case No.: 1:16−cv−07548
                                                    Honorable Philip G. Reinhard
Bernzomatic, et al.
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 20, 2018:


         MINUTE entry before the Honorable Iain D. Johnston: Status report [399]
received and reviewed. The report describes what appears to be ongoing discovery being
conducted in this case. The Court notes that a stay remains in place. See Dkts. 397, 376,
362, 290. The Court will address this concern after the stay is lifted. Until the stay is
lifted, there shall be no further filings from the parties. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
EXHIBIT D
                             Michael Ridley Volume I
                                 January 26, 2018

· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · DISTRICT OF ARIZONA
·

·   ·   ·JASON LOU PERALTA,· · · · · ·|NO.2:17-cv-03195JJT
·   ·   · · · · · · · · · · · · · · · |
·   ·   · · · · · · · Plaintiff,· · · |
·   ·   · · · v.· · · · · · · · · · · |
·   ·   · · · · · · · · · · · · · · · |
·   ·   ·WORTHINGTON INDUSTRIES, INC.;|
·   ·   ·WORTHINGTON CYLINDER· · · · ·|
·   ·   ·CORPORATION; WORTHINGTON· · ·|
·   ·   ·CYLINDER, LLC; BERNZOMATIC· ·|
·   ·   ·COMPANY,· · · · · · · · · · ·|
·   ·   · · · · · · · · · · · · · · · |
·   ·   · · · · · · · Defendants.· · ·|
·   ·   ·_____________________________|

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· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
· · · · · · · · · · · WESTERN DIVISION

·
·   ·   ·KURTIS M. BAILEY,· · · · · · |NO. 1:16-cv-07548
·   ·   · · · · · · · · · · · · · · · |
·   ·   · · · · · · · Plaintiff,· · · |
·   ·   · · · v.· · · · · · · · · · · |
·   ·   · · · · · · · · · · · · · · · |
·   ·   ·WORTHINGTON CYLINDER· · · · ·|
·   ·   ·CORPORATION; WORTHINGTON· · ·|
·   ·   ·INDUSTRIES, INC.· · · · · · ·|
·   ·   · · · · · · · · · · · · · · · |
·   ·   · · · · · · · Defendants.· · ·|
·   ·   ·_____________________________|
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· · · · · · · · · WITNESS:· MICHAEL RIDLEY

· · · · · · · · · · · · · VOLUME I

·

·

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                   U.S. LEGAL SUPPORT | www.uslegalsupport.com   ·
                         Michael Ridley Volume I
                             January 26, 2018

·1· · · · · · ·Video-Deposition of MICHAEL RIDLEY, a

·2· ·non-party witness called for Oral Examination in the

·3· ·above-entitled action, said deposition being taken pursuant

·4· ·to Rules governing Federal Procedure in the State of New York,

·5· ·held at the offices of GIBBONS, PC, One Pennsylvania Plaza;

·6· ·New York, New York on Friday, January 26, 2018 commencing at

·7· ·10:03 a.m., before MICHAEL WILLIAMS, a Notary Public and

·8· ·Registered Professional Court Reporter.

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                           Michael Ridley Volume I
                               January 26, 2018

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·2· ·A P P E A R A N C E S:

·3
· · ·FOR THE PLAINTIFFS KURTIS M. BAILEY and JASON LOU
·4· ·PERALTA:

·5·   ·EAST BAY LAW
· ·   ·1417 Solano Avenue
·6·   ·Albany, California 94706
· ·   ·BY: ANDREW W. SHALABY, ESQ.
·7

·8· ·FOR THE DEFENDANTS WORTHINGTON CYLINDER
· · ·CORPORATION and WORTHINGTON INDUSTRIES, INC.:
·9· ·BOWLES & VERNA, LLP

10· ·2121 N. California Blvd.
· · ·Walnut Creek, California 94596
11· ·BY: RICHARD A. ERGO, ESQ.

12
· · ·FOR THE DEPONENT:
13· ·FROST BROWN TODD, LLC

14·   ·3300 Great American Tower
· ·   ·301 East Fourth Street
15·   ·Cincinnati, Ohio 45202
· ·   ·BY: BETH SCHNEIDER NAYLOR, ESQ.
16

17

18· ·ALSO PRESENT:

19· ·Sonia Dunn-Ruiz - Paralegal
· · ·Larry Moskowitz - Videographer
20

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·1· · · · · · · ·THE VIDEOGRAPHER:· Good morning.· We

·2· ·are now on the record.· This is the videotape

·3· ·deposition of Michael Ridley taken by the

·4· ·defendants in the matter of Jason Lou Peralta

·5· ·versus Worthington Industries, Inc, et al.,

·6· ·Kurtis M. Bailey versus Worthington Cylinder

·7· ·Corporation, et al. in the United States District

·8· ·Court for the Northern District of Illinois.

·9· · · · · · · · This deposition is being held at

10· ·Gibbons, One Penn Plaza; New York, New York on

11· ·January 26, 2018.

12· · · · · · · · My name is Larry Moskowitz from U.S.

13· ·Legal Support, and I'm the video legal

14· ·specialist.· The court reporter is Michael

15· ·Williams also from U.S. Legal Support.

16· · · · · · · · We're going on the record at

17· ·10:04 a.m., and counsel will now state their

18· ·appearances for the record.

19· · · · · · · · MR. ERGO:· Richard Ergo for the

20· ·Worthington entities and also the Peralta case is

21· ·pending in the District Court in Arizona.

22· · · · · · · · MR. SHALABY:· Andrew Shalaby for

23· ·both the plaintiffs and Sonia Dune-Ruiz with me

24· ·my paralegal, both plaintiffs.

25· · · · · · · · MS. SCHNEIDER NAYLOR:· Attorney Beth


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·1· ·Schneider Naylor appearing on behalf of the

·2· ·deponent Michael Ridley.

·3· · · · · · · · THE VIDEOGRAPHER:· Will the reporter

·4· ·please administer the oath.

·5· · · · · · · · · · MICHAEL RIDLEY,

·6· ·called as a witness, having first been duly

·7· ·sworn, testifies as follows:

·8· · · · · · · · MS. SCHNEIDER NAYLOR:· As counsel

·9· ·for the deponent Michael Ridley, I'd like to put

10· ·a statement on the record that neither the

11· ·deponent, Michael Ridley, nor his employer

12· ·Newell, are parties in either the Bailey or the

13· ·Peralta lawsuits in which this deposition is

14· ·being taken.

15· · · · · · · · Mr. Ridley has agreed to appear at

16· ·the request of Defendant Worthington to provide

17· ·third-party fact testimony regarding the fracture

18· ·work.

19· · · · · · · · · · · EXAMINATION

20· ·BY MR. ERGO:

21· · · · ·Q.· · ·All right.· Good morning, Mr.

22· ·Ridley.

23· · · · ·A.· · ·Good morning.

24· · · · ·Q.· · ·Could you state your full name.

25· · · · ·A.· · ·Michael Ridley.


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·1· · · · ·Q.· · ·Okay.

·2· · · · · · · · MR. ERGO:· Almost done with those

·3· ·two questions?

·4· · · · · · · · MR. SHALABY:· I'm done, Mr. Ridley.

·5· ·Thank you very much.

·6· · · · · · · · MR. ERGO:· No further questions.

·7· · · · · · · · THE VIDEOGRAPHER:· We're going off

·8· ·the record.· The time is 2:56 p.m.· This is the

·9· ·end of tape 4.

10· · · · · · · · (Time noted:· 2:56 p.m.)

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15· · · · · · · · · · · __________________________

16· · · · · · · · · · · · · MICHAEL RIDLEY

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21· ·Subscribed and sworn to before me this _______

22· ·day of __________, 20___________.

23· ·________________________________

24· · · · · Notary Public

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EXHIBIT E
     ase 3:11-cv-00068-AJB-DHB Document 86 Filed 02/28/18 PagelD.1567 Page 1 of 5



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   Andrew W. Shalaby ,                             Case No.: l l-cv-0068-AJB-DHB
12                                      Plaintiff,
                                                     ORDER DENYING SHALABY'S
13   v.                                              MOTION TO SET ASIDE THE
                                                     COURT'S JANUARY 5, 2018 ORDER
14   Bernzomatic, et al.,
                                                     (Doc. No. 82)
15                                   Defendants.

16
17         Prose plaintiff Andrew Shalaby, a California-licensed attorney, moved to terminate
18   a prefiling order put in place by this Court in 2012. (Doc. No. 72.) The Court, not convinced
19   the order should be lifted, denied his request. (Doc. No. 79.) Shalaby then moved for
20   permission to file a brief responsive to the Court's order, which the Court granted.
21   (Doc. No. 80.) Shalaby now requests relief from the Court's prior order, arguing primarily
22   that the Court overlooked the fact that Bernzomatic no longer exists to benefit from the
23   prefiling order. (Doc. No. 82 at 2.) But because the Court is not confident Shalaby will
24   respect the legal impediment in filing suit against the defendants, the Court DENIES his
25   request, without prejudice. The Court will address Shalaby's various arguments in tum.
26                A.    The Court is Not Angry with Shala by
27         Shalaby first accuses the Court of being angry with him. (Id at 3-4.) However, the
28   Court's initial decision to enter a prefiling order-and its recent ruling preserving that


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 1   order-was not done in anger or vindictiveness. While the Court sympathizes with the
 2   victims Shalaby represents, it is ultimately duty-bound to the law.
 3                B.     Bernzomatic's Non-Existence
 4         Shalaby next argues that a change in facts requires termination of the prefiling order.
 5   (Id. at 2.) As Shalaby succinctly states, "there is no 'Bemzomatic."' (Id.) Shalaby affirms
 6   Worthington Industries manufactured the subject products, but argues he "has never sued
 7   Worthington in all these years, providing about as solid of evidence as can be that Shalaby
 8   would never have filed another suit against Bemzomatic, regardless of the fact that the
 9   entity no longer exists." (Id.)
10         Defendants respond that the prefiling order covers parties other than Bemzomatic.
11   (Doc. No. 83 at 2.) The prefiling order itself sets forth that "Andrew Shalaby must seek
12   and obtain leave of this Court, prior to filing any new actions, against any defendant, in
13   any forum, based upon, or related in any way, to injuries he sustained as a result of the
14   accident on April 21, 2006." (Doc. No. 66 at 8 (emphasis added).) Defendants note this
15   includes others beyond Bernzomatic, such as Worthington, Newell Operating Company,
16   and Irwin Industrial Tool Company. (Doc. No. 83 at 2.) Defendants maintain that because
17   these companies do exist and have exposure to lawsuits, the prefiling order continues to be
18   necessary. (Id. at 2-3.)
19         Defendants are correct. The prefiling order was not put in place solely to protect
20   Bernzomatic from suit, otherwise the order would be obsolete. The order's purpose is to
21   limit Shalaby from filing an action without the Court's approval against any defendant
22   relating to Shalaby's incident. And as the Court has held its orders are applicable to the
23   other entities in place of the now-defunct Bernzomatic, they still have liability in this
24   matter. (Id. (discussing Worthington in an order denying Shalaby's motion to set aside a
25   protective order in Case No. 07-cv-2107-MMA-BLM).)
26                 C.    Defendants' Supplemental Filings
27         Three days after the Court held a hearing on this motion, defendants filed a relevant
28   supplemental document. (Doc. No. 85.) In this supplemental filing, defendants attached
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 1   two opinions from the Northern District of Illinois and the District of Arizona. (Id.)
 2         In the first opinion, Magistrate Judge Johnston expresses incredulity at the case
 3   before him. He declares: "This case is a straight-forward products liability case, which
 4   despite the court's efforts, has turned into a nearly uncontrollable side-show .... the vast
 5   majority of the blame has been caused by [Shalaby]." (Doc. No. 85-1at2.) Judge Johnston
 6   summarizes Judge Tuchi 's order from the District of Arizbna, and waxes how both cases
 7   have experienced difficulty because of Shalaby. (Id. ("nearly all the problems that Judge
 8   Tuchi has encountered in his case relating to Mr. Shalaby have occurred in the case before
 9   this Court.")) Most concerning, Judge Johnston wrote:
10         In a subsequent filing to Judge Tuchi, which was also emailed to this Court,
           Mr. Shalaby notes that he is having medical issues and, according to Mr.
11
           Shalaby, the medication he is taking may be impairing his abilities and
12         judgment. I am not a doctor, and, so, I cannot form an opinion on that
           representation. But the Court can state that, from the onset of the case, Mr.
13         Shalaby's filings, statements and representations are less than linear. Early on,
14         the Court noted that the filings were, at times, internally inconsistent and
           contradictory. Moreover, Mr. Shalaby's representations have been
15         conflicting. His recent 180 degree change in litigation strategy as to whether
16         he would be retaining an opinion witness is just one example. Moreover, as
           noted by Judge Tuchi's ruling, Mr. Shalaby appears to operate under the
17
           assumption that court orders and directions are mere suggestions that he can
18         revisit at any time.
19   (Id. at 3.) Judge Johnston-in order to "regain control of this case"-drastically hit "the
20   reset button" and struck all pending motions pending "the conclusion of Mr. Shalaby's
21   medical treatment." (Id.) Pertinent to this ruling is the date-February 5, 2018-merely
22   days after the Court's February 2 motion hearing. (Id.) Although this Court is not solely
23   relying on Judge Johnston's ruling in this order, it does corroborate the Court's underlying
24   concern that Shalaby, repeatedly, ignores Court orders and continually re-litigates issues
25   the Court ruled on, old and new. And because it was recently filed, the Court finds its
26   relevance significant.
27              D.    Rule 11 Sanctions Not Required Prior to a Prefiling Order
28         Next, Shalaby argues Rule 11 sanctions were required before imposing a prefiling
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 1   order, but fails to cite any supporting case law supporting this argument. (Id.) While one
 2   Court's holding suggests a pre-filing order is a type of Rule 11 sanction, there is no case
 3   law requiring sanctions be imposed before a prefiling order is established. See West v.
 4   Maxwell, No. C10-5275BHS, 2010 WL 3489551, at *7 (W.D. Wash. Sept. 1, 2010) ("The
 5   Court concludes that the pre-filing order against West is a sufficient sanction under Rule
 6   11 of the Federal Rules of Civil Procedure .... "); Galeska v. Duncan, 894 F. Supp. 1375,
 7   1381 (C.D. Cal. June 29, 1995) ("FRCP Rule 11 authorizes sanctions of a non-monetary
 8   nature. Fed. R. Civ. P. 1l(c)(2). The Fifth Circuit has imposed pre-filing restrictive orders
 9   pursuant to FRCP Rule 11.").
10          Shalaby claims that because he stated under penalty of perjury he would not file
11   another suit against Bernzomatic, the Court should terminate the prefiling order. (Doc. No.
12   82 at 6.) And, at the hearing, Shalaby offered a host of other sanctions the Court could
13   place on him should he break his promise not to file another case based on his cause of
14   action. However, as mentioned previously, the order extends to entities beyond
15   Bernzomatic who still have exposure and thus deserve the benefit of the prefiling order.
16   Defendants made a convincing argument, supported by Judge Johnston's and Judge
17   Tuchi's orders, that these other options-sanctions, bar reporting, limitations defenses-
18   will not stop Shalaby from filing, forcing the now-defunct Bernzomatic, and its progeny,
19   into more costly litigation.
20               E.    The Court's Previous Denial of Shalaby's Expert Witness
21         Shalaby also attempts to re-litigate a decision made in his previously filed action,
22   Case No. 07-cv-2107-MMA-BLM. (Doc. No. 82 at 5.) There, the Court disqualified his
23   expert witnesses without granting leave to cure, which, as Shalaby argues, "lead to the
24   deaths of Ms. Marmong, Mr. Tram, and likely several others .... " (Id) Referencing an
25   Illinois Court who hired its own expert witnesses, he now requests this Court remedy the
26   mistake made years ago. (Id.) However, because that decision was made by a different
27   District Judge on another case against different defendants, this Court will not address it.
28   The Court notes, however, that this is an example of Shalaby 's attempts to appeal an order
                                                  4

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 1 made years prior.
 2                F.       Conclusion
 3          Shalaby appears to have a history of disrespecting court orders. The defendants, at
 4   this time, have convinced the Court that the risk of filing another suit outweighs any
 5   prejudice Shalaby faces by having the prefiling order in effect. Shalaby has not been
 6   stopped from bringing claims on behalf of his clients in other courts. Although the Court
 7   sympathizes with Shalaby's plight and the prefiling's order effect on his other cases, the
 8   Court believes the issue is better handled through protective, summary judgment, or in
 9   limine motions. Moreover, Judge Johnston's recent decision instilled doubt on this Court
10   that Shalaby will uphold the representations he made to not file due to the possible
11   reprimands that could befall him; nor is the Court convinced those hurdles would prevent
12   Shalaby from filing once more should the prefiling order be lifted.
13         For these reasons, the Court DENIES without prejudice Shalaby's motion to set
14   aside its previous order, (Doc. No. 82), and once again denies terminating the prefiling
15   order at this time.
16   IT IS SO ORDERED.

17   Dated: February 28, 2018
18                                              Hon. Anthony J. attaglia
19                                              United States District Judge

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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   Andrew W. Shalaby,                              Case No.: 11-cv-0068-AJB
12                                      Plaintiff,
                                                     ORDER DENYING PLAINTIFF'S
13   v.                                              MOTION TO TERMINATE .
                                                     PREFILING ORDER (Doc. No. 72)
14   Bernzomatic, et al.,
15                                  Defendants.

16
17         Prose plaintiff Andrew Shalaby, a California-licensed attorney, moves to terminate
18   a prefiling order put in place by this Court in 2012. (Doc. No. 72.) Because Shalaby has
19   not convinced the Court the order should be lifted, the Court DENIES his request without
20   prejudice.
21         After litigating for over six years against Bernzomatic for injuries Shalaby sustained
22   while using a torch product, the Court granted Bernzomatic's motion for a prefiling order.
23   (Doc. No. 66.) For brevity's sake, the Court will not reiterate the legion of complaints,
24   reconsideration motions, ex parte applications, rehearing petitions, recusal motions, and
25   appellate motions Shalaby has filed. Those filings were meticulously detailed in a
26   Bernzomatic motion, (see Doc. No. 6 and its accompanying exhibits, Nos. 6-3, 6-6), as
27   well as the prefiling order itself, (Doc. No. 66 at 5-7). Shalaby now argues the "ancient"
28   prefiling order unfairly prejudices his clients and "besmirches" his reputation.


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 1   (Doc. No. 72 at 2-3.) He contends there is "no possibility of [Shalaby] filing another action
 2   on his behalf arising in relation to any aspect of this old lawsuit." (Id. at 2.) Bernzomatic
 3   disagrees, stating the prefiling order is narrowly tailored and only prevents him from filing
 4   lawsuits on his own behalf regarding injuries related to the initial product liability case.
 5   (Doc. No. 74 at 5.) Bernzomatic fears lifting the prefiling order will open the gate for
 6   Shalaby to continue his crusade. (Id.)
 7         Shalaby fails to show any legal grounds for relief in his motion, but merely argues
 8   the order should be terminated. His relief could be granted under Rule 60(b ), through a
 9   reconsideration motion, or under California law. He is years late for a reconsideration
10   motion, thus it is the Court's best guess he is attempting to use Rule 60(b) as an appeal of
11   sorts. Rule 60(b) allows for relief from a final order when there is mistake, neglect, newly
12   discovered evidence, fraud, misrepresentation, misconduct, a judgment is void or has been
13   satisfied, released, or discharged, or any other reason which justifies relief. Fed. R. Civ. P.
14   60(b). Shalaby offers no grounds for relief under Rule 60(b)(l)-(5), nor do his complaints
15   meet the Rule 60(b)(6) catch-all-a tool to be "used sparingly as an equitable remedy to
16   prevent manifest injustice" and "utilized only where extraordinary circumstances
17   prevented a party from taking timely action to prevent or correct an erroneous judgment."
18   United States v. Alpine Land & Reservoir Co., 984 F.2d 1047, 1049 (9th Cir. 1993). His
19   contentions of prejudice and embarrassment simply do not rise to the level of manifest
20   injustice or extraordinary circumstances warranting reversal.
21         Shalaby fares no better under California law. Under California Code of Civil
22   Procedure § 533, a prefiling order is considered an injunction and thus is subject to
23   modification if there is (1) a change in the facts, (2) a change in the law, or (3) to meet the
24   ends of justice. C.C.C.P. § 533; Luckett v. Panos, 73 Cal. Rptr. 3d 745, 750 (2008). Shalaby
25   fails to present evidence supporting a modification. He does not cite to any intervening
26   change in facts or law, rather, his motion argues the prefiling order is unjust and prejudicial
27   towards him and his clients. However, Shalaby's case is a tale of chosen fate. He was
28   repeatedly warned that continued filings disregarding the Court's orders would result in a

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 1 prefiling order. Indeed, the Court initially declined Bemzomantic's prefiling order request,
 2   only to grant it seven-months-and-a-handful-of-unsubstantiated-reconsideration-motions
 3   later.
 4            It is apparent the prefiling order has not prevented Shalaby from filing complaints
 5   on behalf of his clients around the country. In his motion, he discusses cases filed in Illinois
 6   and Arizona. (Doc. No. 72 at 4.) While the Court sympathizes with Shalaby's undoubted
 7   frustration with defendants in those actions using the prefiling order in their motions,
 8   Shalaby has not shown any proof of actual prejudice against those clients. (Doc. No. 72-2
 9   at 3.) The prefiling order was purposely narrowly tailored to prevent such a thing; it only
10   precludes Shalaby from filing actions on his own behalf regarding the specific incident
11   which gave rise to his suit against Bernzomatic in the first place. Or rather, as Bemzomatic
12   succinctly states, "[The prefiling order] does not prevent Mr. Shalaby from doing anything.
13   Rather, it requires the Court to review any filings made by Mr. Shalaby related to his own
14   injuries before he proceeds with filing." (Doc. No. 74 at 10.)
15            Moreover, the Court is unpersuaded by Shalaby's attempts to insinuate that the
16   prefiling order has caused-or is causing-injuries and deaths to consumers or prevents
17   injured consumers from seeking justice. (See Doc. No. 72 at 4-5 .) Shalaby pleads, "[t]he
18   several cases I have in which I represent plaintiff-victims of these products will bring an
19   end to the injuries and deaths, but the added burden and hurdle of the prefiling order in this
20   case continues to be quite an unnecessary obstacle." (Id.) The argument is nonsensical, as
21   the prefiling order only extends to actions brought by Shalaby himself, his wife, or any
22   person acting on their behalf, and only includes actions filed regarding injuries Shalaby
23   sustained from the April 21, 2006 accident. Shalaby is free to file actions on behalf of other
24   clients without jumping through the prefiling order's hoops.
25            The Court finds the ends of justice continue to be adequately served with the
26   prefiling order in place. Despite his claim defendants are using the prefiling order to
27   "besmirch" his reputation, he provides no evidence of such. Despite his claim his clients
28   are being unfairly prejudiced, he continues to file cases in his march against Bemzomatic
                                                   3

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 1   and his belief the products are defective. And, despite other defendants noting the prefiling
 2   order's existence in their moving papers, Shalaby has not shown any consequences have
 3   befallen him or his clients from the order's continuation.
 4         Thus, the Court DENIES Shalaby's motion to terminate the prefiling order without
 5   prejudice. Luckett, 73 Cal. Rptr. at 752 ("The denial without prejudice is an implied
 6   recognition . . . that vexatious litigant status should be erasable in appropriate
 7   circumstances." (internal quotations omitted)).
 8   IT IS SO ORDERED.
 9   Dated: January 5, 2018                                              J

10                                               Hon. 'Anthony J. attaglia
11                                               United States District Judge

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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   Andrew W. Shalaby,                              Case No.: 11-cv-0068-AJB-DHB
12                                      Plaintiff,
                                                     ORDER DENYING RELIEF
13   v.                                              (Doc. Nos. 94, 98)
14   Bernzomatic, et al.,
15                                   Defendants.

16
17         In 2012, the Court issued a prefiling order in this case. (Doc. No. 66.) In 2017,
18   Shalaby filed a motion to set aside the prefiling order, which the Court denied.
19   (Doc. Nos. 72, 79.) Shalaby then immediately requested the Court to reconsider that
20   motion, which again, the Court denied. (Doc. Nos. 80, 86.) Since the Court denied his
21   second reconsideration motion to terminate the prefiling order, there have been
22   19 documents filed over three months-most of which are filings requesting the Court to
23   reconsider terminating the prefiling order. (Doc. Nos. 90, 95, 97, 98, 99, 102, 103, 105.)
24         Yet, in none of these supplemental filings does Shalaby give the Court a valid legal
25   justification to overturn its two previous orders denying reconsideration. In nearly each
26   motion, Shalaby questions the rulings of judges from different districts, (Doc. No. 95);
27   requests this Court issue a protective order on public documents to prevent their use in
28   other courts, (Id. at 2); accuses defendants of weaponizing the prefiling order in other


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 1 actions, (Doc. Nos. 99-1 at 2-3; 105 at 2); and generally relitigates the underlying issues
 2   from his trial, (Doc. No. 99-1 at 3).
 3         Shalaby has not presented the Court with an intervening change in the law or the
 4   facts of his case to waITant reconsideration under the local rules. CivLR 7. l(i). He also has
 5   not presented a relevant argument justifying relief under Federal Rule of Civil
 6   Procedure 60. This Court cannot prevent any opposing counsel from using publicly-filed
 7   documents in their cases. Moreover, even if this Court were to terminate the prefiling order,
 8   it could not prevent the fact that one existed for a number of years from being introduced
 9   by opposing counsel in other courts. The Court declines addressing Shalaby's other
10   arguments regarding this Court's impartiality, (see Doc. No. 95 at 5), or any role Shalaby
11   accuses the Court in playing in his clients' injuries, (see Doc. No. 98 at 3).
12         The Court notes that Shalaby's repeated and unavailing arguments and motions are
13   partially what led the Court to deny his first two reconsideration requests. Having heard
14   Shalaby's objections to the supplemental filing, the Court DECLINES to order further
15   relief and now considers the matter final.
16   IT IS SO ORDERED.

17   Dated: August 8, 2018
18                                                Hon. Anthony J. attaglia
19                                                United States District Judge
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                                         UNITED STATES DISTRICT COURT
10
                                    SOUTHERN DISTRICT OF CALIFORNIA
11
12   ANDREW W. SHALABY                                )    Civil No. l lcv68 AJB (POR)
                                                      )
13                          Plaintiff,                )
     v.                                               )    ORDER DENYING MOTION FOR
14                                                    )    RECONSIDERATION AND GRANTING
     BERNZOMATIC, an unincorporated                   )    MOTION FOR PREFILING ORDER
15   Division ofIRWIN INDUSTRIAL TOOL                 )
     COMPANY; IRWIN INDUSTRIAL TOOL                   )    [Doc. No. 57, 61]
16   COMPANY; NEWELL OPERATING                        )
     COMPANY, INC., and DOES 1 through 50,            )
17   INCLUSIVE;                                       )
                        Defendants.                   )
18                                                    )

19          On April 19, 2012, Plaintiff Andrew Shalaby filed a motion for reconsideration. (Doc. No. 57)
20   The Plaintiff supports his motion for reconsideration by arguing that he has discovered new evidence
21   that he was unable to discover earlier. (Id. at 3.) On May 4, 2012, Defendants, Bernzomatic et al., filed
22   an opposition and a motion for prefiling order. (Doc. No. 61) On May 9, 2012, the Plaintiff filed a reply.
23   (Doc. No. 62) Based upon the parties' moving papers and for the reasons set forth herein the Plaintiffs
24   motion for reconsideration is DENIED and the Defendants' motion for prefiling order is GRANTED.
25                                                  Background

26          The Plaintiff purchased a hand-held gas-powered torch from Home Depot produced by the
27   Defendants. The Plaintiff alleged that he sustained injuries on April 21, 2006, due to a torch malfunc-
28   ti on. On October 10, 2006, the Plaintiff filed a diversity products liability case under California law


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 1   against the Defendants in the Alameda County Superior Court. The action was removed to the Northern

 2   District of California and transferred to the Southern District of California. The Honorable Michael M.

 3   Anello granted the Defendants' motion for summary judgment on July 28, 2009. The Ninth Circuit
 4   Court of Appeals affirmed the district co mi's decision and issued an opinion on May 17, 2010. See

 5   Shalaby v. Newell Rubbermaid, Inc., 379 Fed. Appx. 620 (9th Cir. 2010). The Supreme Court denied the

 6   Plaintiff's Petition for Writ of Certiorari on November 1, 2010. (Doc. No. 5-3, at 104.)
 7          The Plaintiff, an attorney licensed in the state of California, initiated the current action, pro se,

 8   on January 12, 2011. He filed the First Amended Complaint ("FAC") a day later on January 13, 2011.
 9   (Doc. No. 3) The Plaintiff alleged five causes of action against the Defendants: 1) Declaratory Relief; 2)
10   Fraud; 3) Intentional Tort; 4) Negligence; and 5) Injunctive Relief. On February 4, 2011, Defendants
11   filed a motion to dismiss, (Doc. No. 5), for failure to state a claim which was subsequently granted on

12   September 9, 2011. (Doc. No. 23.) At that time, all of the Plaintiff's claims were dismissed with
13   prejudice, except for the Plaintiff's general theory of fraud and request for injunctive relief, which were

14   dismissed without prejudice. The Plaintiff filed a Second Amended Complaint ("SAC"), (Doc. No. 34),
15   on October 8, 2011, which again alleges a claim under a general theory of fraud and seeks injunctive

16   relief. The Plaintiff also asserted a cause of action for fraud and unfair business practices. The Defen-
17   dants filed a motion to dismiss the SAC, (Doc. No. 36), on October 19, 2011, which was granted with

18   prejudice on March 9, 2012. (Doc. No. 48.)
19          On May 5, 2012, the Plaintiff filed this motion for reconsideration. (Doc. No. 57) The Plaintiff
20   claims that he has discovered new evidence that was withheld by the Defendants. (Id. at 3.) The Plaintiff
21   claims that the Defendants withheld a report entitled "Analysis of Failed MAPP Gas Cylinder" prepared
22   by R.A. Hoffman Engineering, P. C. ("Hoffman Report"). (Id. at 3.) The Plaintiff argues that this report

23   could not have been obtained sooner and therefore the Court should grant his request for reconsidera-

24   tion. (Id. at 3-4.) On May 4, 2012, the Defendants filed an opposition arguing that they were not
25   required to produce the Hoffman Report and in any event the report is ilTelevant. (Doc. No. 61, at 5-7.)
26   Additionally, the Defendants include a request for a prefiling order. (Id. at 8.) The Plaintiff filed a reply

27   on May, 9, 2012. (Doc. No. 62.)

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 1                                                 Legal Standard
 2          "Although Rule 59( e) permits a district court to reconsider and amend a previous order, the rule

 3   offers an extraordinary remedy, to be used sparingly in the interests of finality and conservation of
 4 judicial resources." Kana Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000) (citations
 5   and internal quotation marks omitted). As the Ninth Circuit has explained, "a motion for reconsideration
 6   should not be granted, absent highly unusual circumstances, unless the district comi is presented with
 7   newly discovered evidence, committed clear error, or ifthere is an intervening change in the controlling
 8   law." Id. (citations and internal quotation marks omitted). "Whether or not to grant reconsideration is
 9   committed to the sound discretion of the court." Navajo Nation v. Confederated Tribes & Bands of the

10   Yakama Indian Nation, 331 F .3d 1041, 1046 (9th Cir. 2003) (citation omitted).
11                                                   Discussion
12           The Plaintiff argues that the Hoffman Report was never disclosed by the Defendants and that this
13   failure to disclose warrants the granting of the Plaintiff's motion for reconsideration. (Doc. No. 57, at 3.)
14   The Defendants argue that the Hoffman Repmi is irrelevant on several grounds and fails to support the

15   Plaintiffs' request for reconsideration. (Doc. No. 61, at 5-7.)

16   L Motion/or Reconsideration
17           The sole basis of the Plaintiff's motion for reconsideration is that Bernzomatic allegedly
18   improperly withheld the Hoffman Report in the prior action. (Doc. No. 57, at 3.) In support of this
19   allegation, the Plaintiff simply states: "Extensive discovery was exchanged between the parties.
20   Defendants provided many repmis and documents pertaining to other injuries and cases. However, they
21   withheld one." (Id.) The Plaintiff does not provide any facts indicating that the Defendant should have
22   produced the report. No discovery request or response is cited, no deposition questions are referred to,
23   no order of the Court is noted. There is simply no basis for this Co mi to find that the Defendant

24   improperly withheld anything.
25          Additionally, the Court dismissed the Plaintiff's claims on several independent bases that would
26   have remained sound even if the Plaintiff had been in possession of the Hoffman Report prior to the
27   initiation of this action. The SAC was dismissed because: (1) the Plaintiff's claims are barred by res
28   judicata, (Doc. No. 48, at 7-9.); (2) the Plaintiff was unable to allege reasonable reliance and resulting


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     damage (Id. at 12.); (3) the Plaintiff does not have standing to assert a UCL claim (Id. at 13-15.); and (4)
 2   the Plaintiffs claims are barred by the statute oflimitations, (Id. at 15-16).
 3           Furthermore, upon review of the Hoffman Report, the Court finds that it is inelevant because it
 4   relates to a purported metallurgical analysis of a single cylinder that was not involved in the Plaintiffs
 5   incident. The cylinder examined by Dr. Hoffman was manufactured by Western Industries. (Doc. No.
 6   57-2, at 4.) The Plaintiff claims that the cylinder involved in his accident was manufactured by
 7   Worthington, not Western Industries, but that Worthington purchased the MAPP gas manufacturing
 8 facility from Western Industries, Inc. in September 2004, and went on to manufacture in that facility "24
 9   million MAPP gas cylinders" up to that time. (Doc. No. 62, at 4.) Despite the Plaintiffs arguments to
10   the contrary, the Comi finds this rep01i to be irrelevant for the reasons stated above.

11   //,Defendant's Request for Prefi/ing Order
12          Defendant Bernzomatic renews it's request that this Court issue a prefiling order requiring the
13   Plaintiff to post a $25,000 bond, or "approximately double the outstanding cost awards to date to secure
14   future costs before filing any claims." (Doc. No. 61, at 9.) In addition, the Defendant requests that the
15   order apply to Plaintiffs wife, Sonia Dunn-Ruiz and any other person acting on their behalf. (Id.) The
16   prefiling order requested by Defendant would require the Plaintiff obtain leave of the court "prior to
17   filing any new actions against any defendant, in any forum, related in any way to the injuries he
18   sustained on April 21, 2006." (Id. at 9.) In the prior action Bernzomatic was awarded costs in the
19   amount of $11,383.21, which remain unpaid by the Plaintiff in violation of this Court's order. (Doc. No.
20   6-3, at 18-19.) Bernzomatic was also awarded costs by the Ninth Circuit in the amount of $31.20 which
21   remain unpaid by the Plaintiff in violation of the Ninth Circuit's order. (Id. at 20-22.) As a result,
22   Bernzomatic requests that the prefiling order include the requirement that the Plaintiff "verify and
23   document payment in full of the costs awarded to Bernzomatic from this Court and the Ninth Circuit."

24   (Doc. No. 61, at 9.)
25          The All Writs Act, 28 U.S.C. § 1651(a), gives district courts power to enjoin litigants with
26   abusive and lengthy histories from filing further litigation without first obtaining leave of the court. De
27   Long v. Hennessey, 912 F.2d 1144, 1147 (9th Cir. 1990). "Flagrant abuse of the judicial process cannot

28   be tolerated because it enables one person to preempt the use of judicial time that properly could be used


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     to consider the meritorious claims of other litigants." Id. at 1148. Nevertheless, a prefiling order is
 2   considered an extreme remedy and as such, should rarely be granted. Id. at 1147. "Courts should not
 3   enter pre-filing orders with undue haste because such sanctions can tread on a litigant's due process
 4   right of access to the co mis." Molsk; v. Evergreen Dynasty Cmp., 500 F .3d 104 7, 1057 (9th Cir. 2007)
 5   (citations omitted). Thus, "orders restricting a person's access to the comis must be based on adequate
 6 justification supported in the record and nanowly tailored to address the abuse perceived." De Long,
 7   912 F.2d at 1149. A district comi must consider four factors before entering a prefiling order. "First, the
 8   litigant must be given notice and a chance to be heard before the order is entered." Molski, 500 F.3d at
 9   1057. Next, "the district court must compile an adequate record for review." Id. (internal quotation
10   marks omitted). "Third, the district court must make substantive findings about the frivolous or
11   harassing nature of the plaintiffs litigation." Id. Lastly, "the vexatious litigant order must be narrowly
12   tailored to closely fit the specific vice encountered." Id. (internal quotation marks omitted).
13          A. First Factor

14           The first factor requires that the litigant be given notice and a chance to be heard before the order
15   is entered. Id. In this case, the Plaintiff had fair notice of the possibility that he might have a pre-filing
16   order entered against him because the Defendants' motion for pre-filing was served on the Plaintiff.
17   (Doc. No. 61, at 36.) The Plaintiff also had the opportunity and did address the renewed pre-filing
18   motion in his reply. See Doc. No. 62. Cf Pac. Harbor Capital, Inc. v. Carnival Air Lines, Inc., 210 F.3d
19   1112, 1118 (9th Cir. 2000) (holding, in a case involving sanctions levied against an attorney, that an
20   opportunity to be heard does not require an oral or evidentiai;r hearing on the issue, but instead that the
21   opportunity to brief the issue fully satisfies due process requirements).
22          B. Second Factor

23          The second factor requires the district court create an adequate record for review. Molski, 500
24   F. 3d at 105 9. "An adequate record for review should include a listing of all cases and motion that led the
25   district court to conclude that a vexatious litigant order was needed." Id.
26          The Plaintiffs claims against Bernzomatic, in which he seeks damages for personal injuries he
27   sustained as a result of an accident that occurred on April 21, 2006, have now been actively litigated for
28   six years. The Plaintiffs original complaint (Case No. 07-cv-2107, Doc. No. 1.) was filed in 2007, with


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 1   summary judgment being entered against the Plaintiff and in favor of Bernzomatic on July 28, 2009.

 2   (Case No. 07-cv-2107, Doc. No. 209.) The basis of the Court's grant of summary judgment was that the

 3   Plaintiff did not produce evidence to support his claim that an alleged defect in the subject hand-held

 4   torch or the MAPP gas cylinder to which it was attached caused the Plaintiffs accident. (Id. at 24.) The

 5   Plaintiff appealed this summary judgment ruling to the Ninth Circuit, which affirmed this Court's ruling

 6   on May 17, 2010. (Doc. No. 5-3 at 51-55.) The Supreme Court denied review on November 1, 2010. (Id.

 7   at 104.)
 8          In 2010, the Plaintiff attempted to relitigate his claims against Bernzomatic in the Contra Costa

 9   Superior Comi. (Id. at 79.) On December 2, 2010 the state court dismissed the Plaintiffs claims. (Id. at

10   81.) The Plaintiff returned to this Court in 2011, in another effmi to relitigate his claims. (Doc. No. 1)

11   This Court dismissed the Plaintiffs FAC, (Doc. No. 3), on September 9, 2011, (Doc. No. 23), and his

12   SAC, (Doc. No. 34), on March 9, 2012 (Doc. No. 48.) The Plaintiff has filed sixteen motions in an effo1i

13   to relitigate these claims, including, ex parte applications, motions for reconsideration, petitions for

14   rehearing, motions for recusal, and motions to appeal chambers orders.
15          This is the fourth time that the Plaintiff has attempted to introduce "newly discovered evidence"

16   in an effmi to relitigate his claims. The first attempt was in 2009 when the Plaintiff filed a motion to

17   reopen discovery in the prior litigation. (Case No. 7-cv-2107, Doc. No. 93.) This motion was based upon

18   his declaration that a year after his deposition was taken, he examined photographs from the time of his

19   injury and underwent hypnosis which convinced him that the accident had occurred in a manner

20   inconsistent with his prior testimony. (Case No. 7-cv-2107, Doc. No. 93-4, at 6.) The Court denied the

21   Plaintiffs 2009 "newly discovered evidence" motion. (Case No. 7-cv-2107, Doc. No. 131.) In 2011, the

22   Plaintiff filed a FAC in this action alleging that on May 19, 2010, he was contacted by a former

23   Bernzomatic employee who claimed that Bernzomatic made misrepresentations during discovery and

24   that such information was a basis to set aside the prior judgment. (Doc. No. 3, at 7). After the Comi

25   dismissed the Plaintiffs FAC, the Plaintiff filed a SAC alleging that he was once again contacted by a

26   former Bernzomatic employee, this time on October 8, 2011, who told him that the hand-held torches do

27   not contain fracture grooves. (Doc. No. 34, at 11-12.) The Comi dismissed the Plaintiffs third newly

28   discovered evidence claim. (Doc. No. 48.) The instant motion for reconsideration marks the Plaintiffs


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     fourth attempt to introduce "newly discovered evidence," this time from an unidentified source that he

 2   will only reveal in camera. (Doc. No. 57, at 4.)
 3           When the Comi dismissed the Plaintiffs third newly discovered evidence claim it also denied
 4   Bernzomatic's motion for prefiling order. (Doc. No. 23) The Court explained that it had considered the
 5   four factors required to issue a prefiling order, and found that the Defendant's motion had merit, but
 6   given the disfavored nature of such an order the Comi declined to issue it at that time. (Id. at 14.) The
 7   Comi acknowledged the Plaintiffs lengthy histmy of filing meritless motions and attempting to
 8 relitigate issues. (Id. at 14.) Additionally, the Court acknowledged that the Plaintiff was previously
 9   warned by the Comi that sanctions would be imposed if he continued his attempts. (Id. at 14.) Addition-
10   ally, the Comi warned the Plaintiff that any failure to comply with the order or any attempt to relitigate
11   the claims dismissed with prejudice would result in sanctions. (Id. at 14-15.) Since that order, the
12   Plaintiff has filed a motion to extend his time to amend, (Doc. No. 24), a request for judicial notice
13   regarding a recall, (Doc. No. 41), an ex parte motion for leave to file a supplemental complaint, (Doc.
14   No. 43), a request for judicial notice of a complaint filed in Louisiana, (Doc. No. 45), a notice of appeal,
15   (Doc. No. 53), and the instant motion for reconsideration, (Doc. No. 57). It is clear that the Plaintiff has
16   not heeded the Court's warning, and continues to file frivolous motions to relitigate his claims.

17           C. Third Factor

18           The third factor requires the district court to make substantive findings about the frivolous or
19   harassing nature of the plaintiffs litigation. Molski, 500 F.3d at 1059. "To decide whether the litigant's
20   actions are frivolous or harassing, the district court must look at both the number and content of the
21   filings as indicia of the frivolousness of the litigant's claims." Id. (citations and internal quotations
22   marks omitted). The Court finds that the motions discussed above are a frivolous, rehashing of

23   arguments already considered and rejected by the Court.

24          D. Fourth Factor
25           The fourth and final factor requires "that the pre-filing order must be na1Towly tailored to the
26   vexatious litigant's wrongful behavior." Id. at 1061. Defendants request the Court issue a prefiling
27   order that requires the Plaintiff obtain leave of the court "prior to filing any new actions against any
28   defendant, in any forum, related in any way to the injuries he sustained on April 21, 2006." (Doc. No.


                                                            7                                                    llcv68
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 1   61, at 9.) The Defendants also request that the Court require the Plaintiff to "verify and document

 2   payment in full of the costs awarded to Bernzomatic from this Court and the Ninth Circuit." (Id.) The

 3   Comi finds Defendants' requests to be narrowly tailored to the Plaintiffs wrongful behavior. The

 4   requested prefiling order only prevents the Plaintiff from filing any new actions regarding the injuries

 5   related to the accident on April 21, 2006. The order thus covers only the type of claims that the Plaintiff

 6   had been filing vexatiously and is narrowly tailored because it merely subjects the Plaintiffs complaints

 7   to an initial screening review by the Comi. As such, it will not deny the Plaintiff access to courts on any

 8   claim that is not frivolous.
 9             Accordingly, the Comi finds that all four prefiling factors have been met and a prefiling order

10   against the Plaintiff is warranted. Andrew Shalaby must seek and obtain leave of this Court, prior to

11   filing any new actions, against any defendant, in any forum, based upon, or related in any way, to

12   injuries he sustained as a result of the accident on April 21, 2006. The filing for such leave must contain

13   verification and documentation that Andrew Shalaby has paid in full all cost awards against him and in

14   favor of Bernzomatic. If such leave is deemed appropriate by this Court, Andrew Shalaby must post a

15   bond to secure future costs in an amount to be determined at the time of any application for leave. This

16   prefiling order extends to the Plaintiff, his wife Sonia Dunn-Ruiz and any other person or agent acting

17   on their behalf.
18                                                                      Conclusion
19             For the reasons stated above, the Court DENIES the Plaintiffs motion for reconsideration and

20   GRANTS the Defendants' motion for prefiling order.

21             IT IS SO ORDERED.

22

23   DATED: July 27, 2012

24                                                                                    ·-       ....
                                                                                 Hon. Anthony J. Battaglia
25                                                                               U.S. District Judge

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EXHIBIT F
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

                                                              DECLARATION OF DAVID THOMAS

In Re Subpoena and Deposition Notice to DAVID                   Civil Action No.: - - - - - - - -
THOMAS

                                                           (Underlying Action Pending in the United States
                                                            District Court for the District of Arizona, Civil
                                                                    Action No.: 2: 17-cv-03195-JJT)
                                                                                  and
                                                                (Underlying Action Pending in the United
                                                            States District Court for the Northern District of
                                                             Illinois, Civil Action No.: 16-cv-07548 PRG-
                                                                                   IDJ



          David Thomas., declares as follows:

          1.     I am an adult resident of the State of New York residing at 1004 East River Road,

Grand Island, New York.

          2.     I am currently semi-retired. From 1990 to 2005, I worked at Bernzomatic in

Medina, New York (owned by Irwin Industrial Tool Company, a subsidiary of Newell

Rubbermaid). All of the positions I held involved Manufacturing Engineering and Operations.

          3.     I was never involved in the design, testing or evaluation of the torches and

cylinders. Specifically, I was never involved in the design, testing or evaluation of the fracture

groove.

          4.     The Bernzomatic employee who would be knowledgeable about the design,

testing and evaluation of the torches, fracture groove and cylinders is the Senior Engineering

Manager, Michael Ridley.
       5.      On November 13 or 14, 2018, I was served at my home with the attached

documents requiring my appearance at Alliance Court Reporting at 120 East Avenue in

Rochester, New York on December 20, 2018. A complete, true and accurate copy of the

subpoenas served is annexed as Exhibit A.

       6.      It took me quite some time to find someone who could provide me with direction

and assistance in opposing the subpoenas.

       7.      The subpoenas seem to be asking for testimony and things that I know nothing

about. I have never met Mr. Peralta or Mr. Bailey and have no information regarding their

lawsuits. I have been informed by my counsel that the products Mr. Peralta and Mr. Bailey were

using at the time of their accidents were not manufactured by Bemzomatic but were

manufactured by Worthington.

       8.      I do not have any documents responsive to the subpoenas.

       9.      I have never been an employee of Worthington and I have never worked at

Worthington's Wisconsin manufacturing facility.

       10.     Mr. Shalaby, the attorney for Mr. Bailey and Mr. Peralta, has attempted to contact

me on numerous occasions to the point of harassment.

       11.     Being forced to travel from my home near Buffalo, New York to Rochester, New

York only days before Christmas is unfair and places an undue burden on my family and me.

       12.     On December 3, 2018, I received a letter from counsel for Mr. Bailey and Mr.

Peralta via regular U.S. mail stating, "You are scheduled to testify ... on December 20, 2018 at 10

a.m .... We would like to know if you would be willing to travel to Manhattan, NY for your

deposition ...." Manhattan is more than 400 miles from where I reside!




                                            Page 2 of3




                                                                                                      J
         I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 3, 2018




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EXHIBIT A
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                       PREMIER PROCESS SERVICE OF WNY, INC.
                                     P.O. BOX 1932
                                   AMHERST, NY 14226
                                     (716) 598-5860
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 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                                  UNITED STATES DISTRICT COURT
                                                                                   for the
                                                                     Northern District of Illinois

                                      Kurtis M. Bailey                                 )
-- - ·------ - - -·--·---- ·---   -    -
                                           Plaintiff                                   )
                               v.                                                      )      Civil Action No.        16-cv-07548 PRG-IDJ
            Worthington Industries Incorporated, et al.                                )
                                                                                       )
                                           Defendant                                   )

                                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:                                                                           DAVID THOMAS

                                                                  (Name ofperson to whom this subpoena is directed)

     if Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or




                                                                                                                                                 =
those set forth in an attachment:
Problems and defects with Bernzomatic/Worthington/Western/Chilton NRT fuel cylinders and torches, including failures,
defects, injuries, damage, and matters pertaining to the design of the torch fracture groove.
 I Place: A 1ance          ou    eportmg, nc.
                  120 East Avenue, Suite 200
                                                                                               Date and Time:
                                                                                                                 1212 01201 8 10:00 am
                                                                                                                                                 I
                  Rochester, NY 14604 (tel. 585-546-4920)

                The deposition will be recorded by this method:                       stenographically by court reporter, and by video.

          tf Production:      You, or your representatives, must also bring with you to the deposition the following documents,
                electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
                material: Any documents, photos, and other materials pertaining to the Non-refillable tall ("NRT") fuel cylinders,
                          containing all types of flamable fuels, AND TORCHES with the fracture groove features, produced by
                          Bernzomatic, Irwin Industrial Tool, and/or any of their subsidiaries, manufacturers, or distributors. In
                          particular, documents pertaining to problems and defects, including Roger Maxson and other reports.

         The following provisions of Fed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance;
 Rule 45( d), relating to your protection as a person subject to a subpoena; and Rule 45( e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:              11/07/2018
                                              CLERK OF COURT
                                                                                                  OR

                                                       Signature of Clerk or Deputy Clerk                                Attorney 's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
 Kurtis M. Bailey                                                        , who issues or requests this subpoena, are:
Andrew W. Shalaby, 7525 Leviston Avenue, El Cerrito, CA 94530 Tel. 510-551-8500

                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
  , 88A (Rev. 02114) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 16-cv-07548 PRG-IDJ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            tf I served the subpoena by delivering a copy to the named individual as follows:                      Mr. John M. Nelson

            355 UPPER VALLEY ROAD ROCHESTER NY 14624
                                                                                      on (date)                         ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                       for travel and $                       for services, for a total of$           0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server 's signature



                                                                                           Printed name and title




                                                                                              Server's address

Additional information regarding attempted service, etc.:




                                                                                                                                         t
                02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) SpecifYing Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party' s officer; or                                     conditions ifthe serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
  (1)Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form/or Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney's fees--on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises--or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. Jf an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material inust:
     (i) At any time, on notice to the commanded person, the serving party             (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply ;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who .
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                                       t
David Wei Chen sbn 184071
1300 Clay Street, Suite 600
Oakland, CA 94612-14 2 7
Tel. 510-575-0851
Fax:510-201-1577
Cell: 510-640-7251
email: david.chen@davidwchenlaw.com

Andrew W. Shalaby sbn 206841
7525 Leviston Ave
El Cerrito, CA 94530
Tel. 510-551-8500
Fax: 510-725-4950
email: andrew@eastbaylaw.com

Attorneys for Plaintiff
Kurtis M. Bailey

            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS
                         WESTERN DIVISION

 Kurtis M. Bailey,                   )       Case No. 16-cv-07548 PRG-IDJ
                     Plaintiff,      )
                                     )       INSTRUCTIONS TO MR. DAVID
 vs.                                 )       THOMAS FOR APPEARANCE AND
                                     )       PRODUCTION OF DOCUMENTS
                                     )       AT DEPOSITION
 Worthington Cylinder Corporation,   )
 et al.,                             )       Deposition date: 12/20/18
                   Defendants.       )       Time: 10:00 a.m.
                                     )       Location: Alliance Court Reporting
                                     )                 120 East Avenue, Suite 200
                                     )                 Rochester, NY 14604
                                     )                 (tel. 585-546-4920)
                                     )
                                     )       Hon. Philip G. Reinhard



Instructions to Mr. David Thomas         1                 16-cv-07548 PRG-IDJ
/
    TO MR. DAVID THOMAS:


          You have been served with a subpoena to testify at a deposition in a civil action.

    You are respectfully requested to bring with you the following:

          Any documents, photos, and other materials pertaining to the
          Non-refillable tall ("NRT") fuel cylinders, containing all types of
          flamable fuels, AND TORCHES with the fracture groove features,
          produced by Bernzomatic, Irwin Industrial Tool, and/or any of their
          subsidiaries, manufacturers, or distributors. In particular, documents
          pertaining to problems and defects, including Roger Maxson and other
          reports.

    Please find enclosed herewith a check for witness fees and mileage in the amount of

    $87.15.

          Upon receipt of the subpoena please call Plaintiffs counsel's office, East Bay

    Law, at 510-551-8500, and advise as to the estimated number of documents and nature

    of products and/or materials you may bring to the deposition so that arrangements can

· be made to facilitate copying and photography.



    Dated: November 7, 2018

                                                   Attorney for Plaintiff Kurtis M. Bailey




    Instructions to Mr. David Thomas           2                 16-cv-07548 PRG-IDJ




                                                                                               -.1
---.._      #4.



         -AO S~A    (Rev. 02/ l 4) Subpoena to Testify at a Deposition in a Civil Action


                                                    UNITED STATES DISTRICT COURT
                                                                                           for the
                                                                                District of Arizona

                                   Jason Lou Peralta                                         )
                                           Plaintiff                                         )
                                              v.                                             )       Civil Action No.     2:17-cv-03195-JJT
                   Worthington Industries Incorporated, et al.                               )
                                                                                             )
                                          Defendant                                          )

                                         SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVD... ACTION

         To:                                                                           DAVID THOMAS

                                                                     (Name ofperson to whom this subpoena is directed)

                  if
                  Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
         deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
         or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
         those set forth in an attachment:
         Problems and defects with Bernzornatic/Worthington/Westem/Chilton NRT fuel cylinders and torches, including failures,
         defects, injuries, damage, and matters pertaining to the design of the torch fracture groove.
          Place:                                                                                      Date and Time:
                                                                                                                        12/20/2018 10:00 am

                       The deposition will be recorded by this method:                       stenographically by court reporter, and by video.

                  if Production:     You, or your representatives, must also bring with you to the deposition the following documents,
                       electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
                       material: Any documents, photos, and other materials pertaining to the Non-refillable tall ("NRT") fuel cylinders,
                                 containing all types of flamable fuels, AND TORCHES with the fracture groove features, produced by
                                 Bernzomatic, Irwin Industrial Tool, and/or any of their subsidiaries, manufacturers, or distributors. In
                                 particular, documents pertaining to problems and:defects, including Roger Maxson and other reports.

                The following provisions of Fed. R. Civ. P. 45 are attached-Rule 45(c), relating to the place of compliance;
         Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
         respond to this subpoena and the potential consequences of not doing so.                         ·

         Date:           11 /05/2018
                                               CLERK OF COURT
                                                                                                        OR  .~
                                                                                                         ~'L-                         ,..-:::::>
                                                                                                                                 _\...___ _ __

                                                       Signature of Clerk or Deputy Clerk                                    Attorney 's signature

      The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
     _J_a_s_o_n_L_o_u_P_e_r_a_lta_ _ _ _ _ _ __ _ _ _ __ _ _ __ ___ , who issues or requests this subpoena, are:
     David W. Chen, 1300 Clay Street, Suite 600, Oakland, CA 94612 - Tel. 510-551-8500, 510-575-0851

                                         Notice to the person who issues or requests this subpoena
         If this subpoena commands the production of documents, electronically stored information, or tangible things before
         trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
         whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                           .,

       88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

    Civil Action No. 2:17-cv-03195-JJT




I
                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

                I received this subpoena for (name of individual and title, if any)
    on (date)

                ~I served the subpoena by delivering a copy to the named individual as follows:                      Mr. John M. Nelson

                355 UPPER VALLEY ROAD ROCHESTER NY 14624
                                                                                         on (date)                        ; or

                0 I returned the subpoena unexecuted because:



                Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
                tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
                $

    My fees are$                                      for travel and $                       for services, for a total of$          0.00



                I declare under penalty of perjury that this information is true.


    Date:
                                                                                                Server's signature



                                                                                              Printed name and title




                                                                                                 Server's address

    Additional information regarding attempted service, etc.:
        . /) 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




II
  ,.
                                    Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1113)
 ,/
       (c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                          or commercial information; or
         (l) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
       person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
          (A) within 100 miles of where the person resides, is employed, or               Study .that was not requested by a party.
       regularly transacts business in person; or                                            (C) Specijj;ing Conditions as an Alternative: In the circumstances
          (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
       transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
             (i) is a party or a party's officer; or                                      conditions if the serving party:
             (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
       expense.                                                                           otherwise met without undue hardship; and                       .
                                                                                               (ii) ensures that the subpoenaed person will be reasonably compensated.
        (2) For Other Discovery. A subpoena may command:
          (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
       tangible things at a place within I 00 miles of where the person resides, is
       employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
          (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                          infonnation:
       {d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                          must produce them as they are kept in the ordinary course of business or
        (1)Avoiding Undue Burden or Expense; Sanctions. A party or attorney               must organize and label them to correspond to the categories in the demand.
       responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
       to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
       subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
       enforce this duty and impose an appropriate sanction--which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
       lost earnings and reasonable attorney's fees--<>n a party or attorney who             (C) Electronically Stored Information Produced in Only One Form. The
       fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                          information in more than one form.
        (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
          (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
       documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not. reasonably accessible because
       permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
       production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
       hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
          (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
       things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
       in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
       sampling any or all of the materials or to inspecting the premises--or to
       producing electronically stored infonnation in the form or forms requested.        (2) Claiming Privilege or Protection.
       The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
       compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
       the following rules apply:                                                         material niust:
            (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
       may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
       order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
            (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
       order must protect a person who is neither a party nor a party's officer from        (B) Information Produced. If infonnation produced in response to a
       significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                          trial-preparation material, the person making the claim may notify any party
        (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                          notified, a party mtist promptly return, sequester, or destroy the specified
         (A}.When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disc!ose the information
       compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                          information if the party disclosed it before being notified; and may promptly.
            (i) fails to allow a reasonable time to comply;                               present the infonnation under seal to the court for the district where
            (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
       specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
            (iii) requires disclosure of privileged or other protected matter, if no      resolved.
       exception or waiver applies; or
            (iv) subjects a person to undue burden.                                       (g) Contempt.
         (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
       subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
       motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                          subpoena or an order related to it.


                                                For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013):
Andrew W. Shalaby sbn 206841
7525 Leviston Ave
El Cerrito, CA 94530
Tel. 510-551-8500
Fax: 510-725-4950
email: andrew@eastbaylaw.com
David Wei Chen sbn 184071
1300 Clay Street, Suite 600
Oakland, CA 94612-1427
Tel. 510-575-0851
Fax:510-201-1577
Cell: 510-640-7251
email: david.chen@davidwchenlaw.com


Attorneys for Plaintiff
Jason Lou Peralta




                 IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA


Jason Lou Peralta,                      Case Number: 2:17-cv-03195-JJT
                           Plaintiff,
                                        INSTRUCTIONS TO MR.DAVID
      vs.                               THOMAS FOR APPEARANCE AND
                                        PRODUCTION OF DOCUMENTS AT
Worthington Industries, Inc.;           DEPOSITION
Worthington Cylinder Corporation;
Worthington Cylinder Wisconsin,         Deposition date: 12/20/18
LLC; BernzOmatic Company;               Time: 10:00 a.m.
                                        Location: Alliance Court Reporting
                     Defendants.                  120 East Avenue, Suite 200
                                                  Rochester, NY 14604
                                                  (tel. 585-546-4920)



                                        Judge: Hon. John J. Tuchi



Instructions to Mr. David Thomas        1                    2: l 7-cv-03195-JJT




                                                                                   I
        TO MR. DAVID THOMAS:
    I




I             You have been served with a subpoena to testify at a deposition in a civil
        action. You are respectfully requested to bring with you the following:


              Any documents, photos, and other materials pertaining to the
              Non-refillable tall ("NRT") fuel cylinders, containing all types of
              flamable fuels, AND TORCHES with the :fracture groove features,
              produced by Bernzomatic, Irwin Industrial Tool, and/or any of their
              subsidiaries, manufacturers, or distributors. In particular, documents
              pertaining to problems and defects, including Roger Maxson and other
              reports.


        Please find enclosed herewith a check for witness fees and mileage in the amount of
        $87.15.
              Upon receipt of the subpoena please call Plaintiffs counsel's office, East Bay
        Law, at 510-551-8500, and advise as to the estimated number of documents and nature
        of products and/or materials you may bring to the deposition so that arrangements can
        be made to facilitate copying and photography.


        Dated: November 7. 2018                          ~-=z_
                                                     DaVi<r:Chen, Attorney for Plaintiff
                                                     Jason Lou Peralta




        Instructions to Mr. David Thomas         2                       2:17-cv-03195-JJT




                                                                                                I
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

                                                       MEMORANDUM OF LAW IN SUPPORT OF
                                                              MOTION TO QUASH

In Re Subpoena and Deposition Notice to                     Civil Action No.: - - - - - - - -
DAVID THOMAS

                                                       (Underlying Action Pending in the United States
                                                    District Court for the District of Arizona, Civil Action
                                                                    No.: 2:17-cv-03195-JJT)
                                                                              and
                                                       (Underlying Action Pending in the United States
                                                    District Court for the Northern District of Illinois, Civil
                                                              Action No.: 16-cv-07548 PRG-IDJ



         Now comes David Thomas ("Mr. Thomas"), by and through counsel, and respectfully

requests an Order to quash the non-party subpoenas served on him by Plaintiffs Kurtis M. Bailey

and Jason Lou Peralta in the two underlying actions referenced in the above caption (collectively

the "Underlying Actions").     Pursuant to Federal Rules of Civil Procedure 26 and 45, the

subpoenas seek information that is not relevant to the litigation, is cumulative and duplicative of

discovery previously taken, exceeds existing discovery limitations issued by the courts in the

Underlying Actions, subjects Mr. Thomas to an undue burden, and is a continuation of a decade-

long meritless campaign by Plaintiff's counsel against Mr. Thomas' s former employer.

                                PRELIMINARY STATEMENT

         The subpoenas at issue were issued in two separate matters. One pending in the U.S.

District Court for the Northern District of Illinois (Bailey v. Worthington Industries Inc., et al)

wherein all discovery has been stayed, and the second, in the U.S. District Court for the District

of Arizona (Peralta v. Worthington Industries Inc., et al). Mr. Thomas and his former employer




(6813811:}
are not parties to the cases pending in Illinois and Arizona therefore, seeking relief from those

courts is not readily available. The subpoenas require compliance in Rochester, New York. As

such, even though the actions for which the subpoenas were issued are pending elsewhere, an

application to quash is properly returnable in this District. Fed. R. Civ. P. 45 (d)(3).


                                           ARGUMENT

         A.    The Subpoenas Seek Information that is Not Relevant to the Litigation

         A subpoena issued to a non-party pursuant to Rule 45 is subject to Rule 26(b)(l)'s

relevance requirement. Albino v. Global Entertainment USA, Ltd., No. 6:14-cv-06519 (MAT),

2017 WL 3130380, *1 (W.D.N.Y. July 24, 2017). The subpoena "must demonstrate that the

information sought is relevant and material to the allegations and claims at issue in the

proceedings." Id. In this case, Plaintiffs allege injuries sustained on May 20, 2014 by Mr. Bailey

and February 5, 2016 by Mr. Peralta caused by products manufactured by Defendant

Worthington Industries, Inc. ("Worthington"). See Declaration of Attorney William Bauer        ~3.


Mr. Thomas has no personal knowledge about the products involved in this case or any of the

facts in the Underlying Actions.

         From 1990 until 2005, Mr. Thomas worked for the Bernzomatic division of Irwin

Industrial Tool Company, a former subsidiary of Newell Brands, Inc. (fk:a Newell Rubbermaid)

which was located in Medina, New York ("Newell/Bernzomatic").                   Newell/Bernzomatic

manufactured CGA 600-compliant fuel torches and was a distributor for non-refillable tall

(NRT) gas cylinders which were compatible with Newell/Bernzomatic torches. Mr. Thomas's

positions involved the engineering of the machines used in the manufacturing process; not the

end product itself - torches and cylinders. Mr. Thomas was not involved in the design and

testing of the torches, fracture groove and/or cylinders.                When Mr. Thomas left


                                                  2
{6813811:}
Newell/Bernzomatic's employment in 2005, he did not take (nor does he currently possess) any

responsive documents from his former employer. See         ~~2-3,   8 of the Declaration of David

Thomas (attached as Exhibit F to the Declaration ofAttorney William Bauer).

         On July 1, 2011, Newell sold all assets of the Bernzomatic division to Worthington and

ceased doing business in the torch and cylinder industry at that time. First Amended Complaint

at~~   12, 19-20, Peralta v. Worthington Inds. Inc. et. al., No. 2:17-cv-03195-JJT (D. Ariz. Dec.

18, 2017). The torches involved in these cases were manufactured by Worthington in 2013 and

2015. The propane cylinders involved in these cases were manufactured by Worthington in 2013

and 2014.      Both products were manufactured at Worthington's manufacturing facility in

Wisconsin. See Declaration ofAttorney William Bauer      ~3.


         The products at issue were manufactured close to a decade after Mr. Thomas left

Newell/Bernzomatic's employment, by a company for which Mr. Thomas was never an

employee, and at a Wisconsin manufacturing facility where Mr. Thomas was never employed.

In shmi, Mr. Thomas knows nothing about the products at issue in this case. Additionally, Mr.

Thomas has never met Plaintiff Bailey or Peralta and knows nothing about the alleged incident in

Illinois in 2014 or the alleged incident in Arizona in 2016. See      ~~7,   9 of the Declaration of

David Thomas (attached as Exhibit F to the Declaration ofAttorney William Bauer).

         Due to the significant passage of time, lack of knowledge regarding the products at issue

and lack of knowledge about the alleged incident, Plaintiffs fail to meet their burden of

demonstrating that the information sought from Mr. Thomas is relevant and material to the

allegations and claims at issue. Albino at *1. Therefore, the subpoena must be quashed.




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            B.   The Subpoenas Exceed Existing Limitations on Discovery in the Underlying
                 Actions

                 On November 20, 2018, the Bailey court issued a minute order reminding the

parties "that a [discovery] stay remains in place." See Declaration of Attorney William Bauer iJS

Exhibit C Minute Entry by the Honorable Iain D. Johnston, ND. IL.. The subpoena served on

Mr. Thomas is in direct violation of the stay issued by Judge Johnston of the Northern District of

Illinois.

         The subpoenas seek information concerning, "fuel cylinders, containing all types of

flammable fuels," thereby exceeding the permissible scope of discovery in the Underlying

Actions which limit discovery to NRT propane cylinders only. Defendant Worthington filed

objections to the Thomas subpoenas in both cases reserving its right to seek sanctions stating:

            1.   Despite the court's order prohibiting discovery on cylinders other than "NRT"

                 propane cylinders, Plaintiffs notice indicates that the matters covered in the

                 deposition will include issues with "NRT" fuel cylinders without any limitation to

                 propane NRT cylinders. Plaintiff has previously sought discovery on MAPP gas

                 cylinders and [the] court has disallowed such discovery.

         2.      Despite the court's order prohibiting discovery on cylinders other than "NRT"

                 propane cylinders, Plaintiffs document request seeks documents "pertaining to

                 the Non-Refillable tall ("NRT") cylinders containing all types of flammable

                 fuels ... " Plaintiff has previously sought discovery on MAPP gas cylinders and

                 [the] court has disallowed such discovery.

See Declaration ofAttorney William Bauer at iI4 and Exhibit B: Worthington's Objections.

         Plaintiff cannot be permitted to make an end run around limitations placed on discovery

in the courts where the actions are pending by coming to New York. Since the information


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sought in these subpoenas has already been deemed irrelevant by the courts where the cases are

pending, the subpoena must be quashed. See Albino, at *1.



         C.     Information Sought by the Subpoenas is Duplicative and Cumulative of
                Discovery Already Taken in the Underlying Actions.

                A non-party seeking a court's protection from discovery may invoke "the

overlapping and interrelated provisions of both Rules 26 and 45." Mannington Mills, Inc. v.

Armstrong World Indus., Inc. 206 F.R.D. 525, 529 (D. Del. 2002). Fed. R. Civ. P. 26 (b)(2)(C)

allows the Court to limit discovery if it determines that: "(i) the discovery sought is umeasonably

cumulative or duplicative, or can be obtained from some other source that is more convenient,

less burdensome or less expensive; (ii) the party seeking discovery has had ample opportunity to

obtain the information by discovery in the action; or (iii) the burden or expense of the proposed

discovery outweighs its likely benefit, considering the needs of the case, the amount in

controversy, the parties' resources, the importance of the issues at stake in the action, and the

importance of the discovery in resolving the issues." Notably, "[r]estrictions on discovery may

be broader where a non-party is the target of discovery to protect such third parties from

unnecessary harassment, inconvenience, expense or disclosure of confidential information."

(emphasis added) In re Candor Diamond Corp., 26 B.R. 847, 849 (Bankr. S.D.N.Y. 1983); see

also Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44, 52 (S.D.N.Y. 1996); In re Biovail

Corp. Sec. Litig., 247 F.R.D. 72, 74 (S.D.N.Y. 2007).

         Even if the requesting party seeks relevant information, "discovery is not allowed where

no need is shown, or where compliance is unduly burdensome, or where the potential harm

caused by production outweighs the benefit." Mannington Mills, 206 F.R.D. at 529 (citing

Micro Motion, 894 F.2d at 1323); Gonzalez v. Google, Inc., 234 F.R.D. 674, 683 (N.D. Cal.,


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2006) ("[A] court may modify or quash a subpoena even for relevant information if it finds that

there is an undue burden on the non-party. Undue burden to the non-party is evaluated under

both Rule 26 and Rule 45."); see also Concord Boat Co. v. Brunswick, 169 F.R.D. at 53

(granting the non-party witness' motion to quash based on facial overbreadth of subpoena).


         Neither Mr. Thomas, nor his former employer, are parties to the Underlying Actions.

The parties in the Underlying Actions, including Plaintiffs, had the opportunity to depose the

former Senior Engineering Manager for the Bernzomatic division of Newell, Michael Ridley, for
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an entire day on January 26, 2018.                Mr. Ridley who was employed by Newell/Bernzomatic

through the 2011 asset sale to Worthington, is the most knowledgeable person regarding certain

information requested in the Thomas subpoenas, "matters pertaining to the design of the torch

fracture groove," and "Torches with the fracture groove features produced by Bernzomatic, Irwin

Industrial Tool ... " See if4 of the Declaration of David Thomas (attached as Exhibit F to the

Declaration ofAttorney William Bauer). Assuming arguendo, that any of the information sought

by the Thomas subpoenas is relevant, the parties in the Underlying Actions have already had full

and     ample     opp01iunity       to   depose      the       most   knowledgeable         representative      from

Newell/Bernzomatic. Id.; Declaration of Attorney William Bauer if 6 and Exhibit D: Excerpt of

Deposition Transcript of Michael Ridley.

         Accordingly, the Thomas subpoenas are cumulative and duplicative of discovery already

taken in the Underlying Actions.             The information sought from Thomas has already been



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  At p. 6: MS. SCHNEIDER NAYLOR: As counsel for the deponent Michael Ridley, I'd like to put a statement on
the record that neither the deponent, Michael Ridley, nor his employer Newell, are parties in either the Bailey or the
Peralta lawsuits in which this deposition is being taken. Mr. Ridley has agreed to appear at the request of Defendant
Worthington to provide third-party fact testimony regarding the fracture groove [sic]. Declaration of Attorney
William Bauer 'i]6 and Exhibit D: Excerpt of Deposition Transcript of Michael Ridley dated January 26, 2018 in the
Underlying Actions.


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obtained from Mr. Ridley. The benefit, if any, of forcing Mr. Thomas to travel to Rochester to

be asked questions about things he has no knowledge of, is clearly outweighed by the burden and

expense imposed on Mr. Thomas. See Fed. R. Civ. P. 26 (b)(2)(C).


    D. Rule 45 Mandates that the Subpoena Be Quashed because it Poses an Undue
       Burden on Mr. Thomas

         Fed. R. Civ. P. 45(d)(3)(iv) states that, "on timely motion, the court for the district where

compliance is required must quash or modify a subpoena that ... subjects a person to undue

burden." (emphasis added). Parties may not obtain discovery that is disproportionate to the needs

of the case. See Fed. R. Civ. P. 26(b)(l). This Court determined that when considering a motion

to quash, the value of the information to the serving party must be weighed against the burden of

the subpoenaed party. See Moll v. Telesector Resources Group, Inc., No. 04-CV-0805S(Sr),

2017 WL 2241967, *2 (W.D.N.Y. May 23, 2017).

         Rule 45 mandates the quashing of a subpoena which subjects the deponent to an undue

burden. Mr. Thomas, who is currently semi-retired, resides at 1004 East River Road, Grand

Island, NY 14072 (near Buffalo), 2 approximately eighty miles from Alliance Court Reporting in

Rochester NY, the location of the deposition. The deposition is scheduled for December 20, a

few days before Christmas when all upstate New Yorkers know to expect snow and treacherous

roads. The driving time each way is at least two hours on a clear day and more than double that

with lake effect snow. See     ~1,   2, 5, 11 of the Declaration of David Thomas (attached as Exhibit

F to the Declaration ofAttorney William Bauer).

         As if the current inconvenience is not enough, on December 3, 2018, Mr. Thomas

received a letter via regular U.S. Mail from Plaintiffs' counsel in the Underlying Actions
2
  The subpoenas served on Thomas are facially defective because they reference a "Mr. John M. Nelson, 355
UPPER VALLEY ROAD, ROCHESTER NY 14624." Thomas lives in Grand Island NY, not Rochester. See
Subpoena attached as Exhibit A. A simple internet search for "David Thomas" in upstate New York produces 426
records.

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requesting that he appear for the December 20, 2018 deposition in Manhattan, instead of

Rochester!    See   ~   12 of the Declaration of David Thomas (attached as Exhibit F to the

Declaration ofAttorney William Bauer).

         In weighing the value, if any, of the information sought with the burden placed on Mr.

Thomas, the imbalance is clear. Moll, at *2. Therefore, respectfully, this court must quash the

subpoena.

         E.     Plaintiff's Counsel Continues His Meritless Campaign Against Mr. Thomas's
                Former Employer

         On July 27, 2012, the U.S. District Court for the Southern District of California deemed it

necessary and appropriate to declare Plaintiffs' counsel, Mr. Shalaby, a vexatious litigant in his

personal claim against Newell/Bernzomatic and several of the defendants/interested parties

arising from injuries he sustained in 2006 while allegedly using a torch and cylinder. Shalaby v.

Bernzomatic et al., No. 1lcv68 AJB (POR) (S.D. Ca. July 27, 2012).              See Declaration of

Attorney William Bauer     iJ7 and Exhibit E. The Prefiling Order ("2012 Order") entered against
Mr. Shalaby was affirmed by the Ninth Circuit Court of Appeals and remains in effect today,

despite numerous attempts by Mr. Shalaby to have the Pre-filing Order terminated. Shalaby v.

Bernzomatic, 584 Fed. Appx. 419, 420 (9th Cir. 2014). The most recent Order dated August 8,

2018 reaffirms the ongoing need for the 2012 Order. See Declaration ofAttorney William Bauer

~7   and Exhibit E: Order Denying Motion for Reconsideration and Grating Motion for Prefiling

Order, Shalaby v. Bernzomatic et al., No. 1 lcv68 AJB (POR) (S.D. Ca. July 27, 2012) and all

subsequent Orders reaffirming dated Jan. 5, 2018, Feb. 28, 2018, and Aug. 8, 2018.

         The impetus for the 2012 Order was over six years of aggressive, yet unsupported, claims

by Mr. Shalaby against Newell/Bernzomatic and other interested parties, which involved Mr.

Shalaby's numerous attempts to relitigate previously issued final decisions of the court in


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multiple different federal and state courts. In entering the 2012 Order granting the extraordinary

remedy, the Shalaby Court found that:

    •    Mr. Shalaby had fair notice that a prefiling order may be entered against him (p. 5);

    •    Mr. Shalaby had "not heeded the Court's warning, and continues to file frivolous motions

         to relitigate his claims" (p. 7);

    •    Mr. Shalaby's motions "are a frivolous [] rehashing of arguments already considered and

         rejected by the Comi" (p. 7); and

    •    "Andrew Shalaby must seek and obtain leave of this Court, prior to filing any new

         actions, against any defendant, in any forum, based upon, or related in any way, to

         injuries he sustained as a result of the accident on April 21, 2006" (p. 8).

         While Mr. Shalaby's involvement as counsel for Plaintiffs Peralta and Bailey is not a

technical violation of the 2012 Order, it is a continuation of his decade-long frivolous and

meritless campaign against the Newell/Bernzomatic, other defendants/interested parties and their

products. The issuing of the subpoenas to Mr. Thomas and another former employee, John

Nelson, who left Newell/Bernzomatic's employment in 1990 seeking irrelevant and/or

duplicative and cumulative discovery, which exceeds the scope of permissible discovery in the

Underlying Actions, and places a significant burden on Mr. Thomas, a semi-retired non-party is

consistent with the behavior which elicited the issuance of the 2012 Order and its recent

reaffirmance. Dragging an individual former employee into Mr. Shalaby's dispute with

Newell/Bernzomatic should not be allowed.




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                                             CONCLUSION

         Accordingly, pursuant to Fed. R. Civ. P. 26 and 45, Mr. Thomas respectfully request the

Court to quash the subpoenas issued by the Plaintiffs in this matter.

DATED:          December 5, 2018                             WOODS OVIATT GILMAN LLP


                                                     By:
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


                                                                          PROPOSED ORDER
IN RE SUBPOENA AND DEPOSITION NOTICE TO
DAVID THOMAS                                                 Civil Action No.: - - - - -

                                                             (Underlying Action Pending in the United States
                                                             District Court for the District of Arizona, Civil
                                                             Action No.: 2: 17-cv-03195-JJT)

                                                             and

                                                             (Underlying Action Pending in the United States
                                                             District Court for the Northern District of
                                                             Illinois, Civil Action No.: 16-cv-07548 PRG-
                                                             IDJ


         David Thomas, having moved this Court for an Order pursuant to Fed. R. Civ. P. 45 (d)

(3), quashing the subpoena served upon him in actions pending in the United States District

Court for the District of Arizona, Civil Action No.: 2: 17-cv-03195-JJT and the United States

District Court for the Northern District of Illinois, Civil Action No.: 16-cv-07548 PRG-IDJ,

requiring compliance within this District; and sufficient cause appearing therefore, it is

         ORDERED, that the subpoena served upon David Thomas is hereby quashed in its

entirety.

SO ORDERED
                                                      Hon.




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